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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                  )
FLAGSTAR FINANCIAL & LEASING, LLC )
f/k/a Signature Financial, LLC,   )
                       Plaintiff,                  )
                                                   )
                                                              Case No.:
v.                                                 )
                                                   )
INLAND TRANSPORTATION LTD., an
Illinois corporation, and ULUGBEK                  )
KUCHKAROV, an individual,                          )
                                                   )
                       Defendants.                 )

                                          COMPLAINT

       Plaintiff, Flagstar Financial & Leasing, LLC f/k/a Signature Financial, LLC (hereinafter

referred to as “Plaintiff”), for its Complaint against Defendants, Inland Transportation Ltd.

(hereinafter referred to as “Inland”) and Ulugbek Kuchkarov (hereinafter referred to as

“Guarantor,” and together with Inland, the “Defendants”), states as follows:

                                       Nature of the Action

         1.    This is an action to recover money damages for breach of contract and a breach of

personal guaranty, as well as replevin/possession of Plaintiff’s Collateral, as defined herein.

                                            The Parties

         2.    Plaintiff is a New York limited liability company organized and existing under the

laws of the State of New York and has a principal place of business at 100 Duffy Avenue, Suite

402, Hicksville, New York 11801.

         3.    Plaintiff’s sole member is Flagstar N.A. Flagstar N.A.’s main office is located in

the State of New York.
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         4.    Inland is a corporation, organized and existing under the laws of the State of

Illinois, with an office for the transaction of business at 3832 Rosada Drive, Naperville, IL 60564.

         5.    Upon information and belief, Guarantor is an individual maintaining a residence at

3832 Rosada Drive, Naperville, IL 60564.

         6.    Upon information and belief, Guarantor was and remains the president of Inland.

                                       Jurisdiction and Venue

         7.    This is a civil action over which this Court has original jurisdiction pursuant to 28

U.S.C. § 1332(a) as this action is between citizens of different States and the amount in controversy

exceeds the sum or value of $75,000.00, exclusive of interest and costs.

         8.    Venue is proper in this district by virtue of the contractual agreement between

Plaintiff and Defendants pursuant to which Defendants expressly consented to the commencement

and prosecution of any action concerning the subject contract in this forum. Defendants also reside

and/or do business in this District.

                                                Facts

         9.    On or about January 29, 2020, Inland, as Borrower, entered into a Commercial

Finance Agreement (Contract #93957), thereafter amended on February 5, 2020, (hereinafter

“Contract 1”) with Engs Commercial Finance Co. (“Engs Commercial”), as Creditor. Pursuant to

Contract 1, Engs Commercial financed Inland’s purchase of One 2016 Utility Refrigerated Trailer

(S/No.    1UYVS2535GU430514),            One    2017     Utility   Refrigerated    Trailer    (S/No.

1UYVS2532HM802019),            and     One     2013     Utility    Refrigerated    Trailer    (S/No.

1UYVS2539DU541126), with a 2015 Carrier X4-7500 Refrigeration Unit, a 2016 Carrier X4-

7500 Refrigeration Unit and a 2012 Carrier X4-2100A Refrigeration Unit (S/Nos RAH91410616,

RAU91452716, NAX91297528, respectively) and together with “all additions, replacements,


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accessions, accessories, attachments, substitutions, exchanges, improvements, repairs, parts,

replacement parts, manuals and reference books…” (the “Contract 1 Collateral”) for use in its

business operations. A true and accurate copy of Contract 1 is attached as Exhibit 1.

         10.   Pursuant to Contract 1, Inland agreed to pay Engs Commercial (including any

assigns) in forty-eight monthly (48) installments of $2,736.69 each (the “Contract 1 Installment

Payments”), beginning on March 5, 2020. Contract 1 at ¶¶3-4.

         11.   In consideration of the financing provided by Engs Commercial to Inland,

Guarantor personally guaranteed all of the payment obligations owed by Inland to Engs

Commercial (or its successors or assigns), including, but not limited to the Contract 1 Installment

Payments (the “Contract 1 Guaranty”). A true and accurate copy of the Contract 1 Guaranty is

attached as Exhibit 2.

         12.   On or about September 2, 2020, Inland, as Borrower, entered into a Commercial

Finance Agreement (Contract #106640), thereafter amended on September 10, 2020 (hereinafter

“Contract 2” and together with Contract 1 the “Finance Agreements”) with Engs Commercial, as

Creditor. Pursuant to Contract 2, Engs Commercial financed Inland’s purchase of Two (2) 2021

Freightliner Cascadia (CA125SLP) Sleeper Tractors (S/Nos 3AKJHHDR9MSMR8186,

3AKJHHDR0MSMR8187) together with “all additions, replacements, accessions, accessories,

attachments, substitutions, exchanges, improvements, repairs, parts, replacement parts, manuals

and reference books…” (the “Contract 2 Collateral” and together with the Contract 1 Collateral

the “Collateral”) for use in its business operations. A true and accurate copy of Contract 2 is

attached as Exhibit 3.




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         13.   Pursuant to Contract 2, Inland agreed to pay Engs Commercial (including any

assigns) in sixty monthly (60) installments of $6,014.30 each (the “Contract 2 Installment

Payments”), beginning on November 1, 2020.

         14.   In consideration of the financing provided by Engs Commercial to Inland pursuant

to Contract 2, Guarantor personally guaranteed all of the payment obligations owed by Inland to

Engs Commercial (or its successors or assigns), including, but not limited to the Contract 2

Installment Payments (the “Contract 2 Guaranty” and together with the Contract 1 Guaranty, the

“Guaranties”). A true and accurate copy of the Contract 2 Guaranty is attached as Exhibit 4.

         15.   To secure repayment of the amount financed by Engs Commercial, by the Finance

Agreements, Inland granted Engs Commercial a first priority perfected security interest in the

Collateral.

         16.   By Assignment, dated March 8, 2021, Engs Commercial assigned its rights under

the Finance Agreements and its security interest in the Collateral to Plaintiff.

         17.   By Notice of Assignment, dated March 11, 2024 and March 13, 2024, Inland and

Guarantor were provided notice of the assignment of Engs Commercial’s rights under the Finance

Agreements to Plaintiff. A true and accurate copy of the March 11 and 13, 2024 Notices are

attached as Exhibit 5.

         18.   Upon the occurrence of an event of default, Section 16 of the Finance Agreements

provides that Plaintiff may, inter alia: (i) accelerate the unpaid balance without notice; (ii) require

delivery of the Collateral; (iii) repossess the Collateral without court order; (iv) sell, retain or

dispose of the Collateral; (v) sue to enforce performance; (vi) recover interest on the unpaid

balance at the rate of the lesser of 12% per annum or the highest rate permitted by law; and (vii)

pursue any other right or remedy which may be available to Plaintiff under applicable law.



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          19.   Pursuant to Section 16 of the Finance Agreements, Defendants agreed to pay

Plaintiff’s reasonable attorneys’ fees and actual costs including repossession, refurbishing of the

Collateral and collection costs.

          20.   Section 17 of the Finance Agreements further provides that any amount not paid

within five (5) days after its due date (“Late Payment”) is subject to a late charge equal to the

greater of fifty dollars ($50.00) or ten percent (10%) of the Late Payment, but not more than the

highest rate allowed by law.

          21.   Inland defaulted with respect to its payment obligations under the Finance

Agreements by: (i) failing to make the Contract 1 Installment Payments due for the month of April

2024 or any of the Installment Payments due thereafter; and (ii) failing to make the Contract 2

Installment Payment due for the month of January 2024 or any of the Installment Payments due

thereafter.

                                        Claims for Relief

                                            Count I
                                (Breach of Contract 1; Damages)

          22.   Plaintiff adopts, incorporates, and realleges Paragraphs 1 through 21 as in for this

paragraph, as if the same were fully set forth herein.

          23.   The Contract 1 Finance Agreement is a valid and binding contract.

          24.   Inland failed to make the monthly payment due in April 2024, with respect to

Contract 1, and any subsequent monthly payments, and that failure has now been deemed to be an

event of default under Contract 1.

          25.   By reason of Inland’s failure to make payments when due, Plaintiff accelerated the

balance due under Contract 1.




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         26.   Pursuant to Contract 1, Inland agreed that any past due amounts would carry a

default interest rate of 12% per annum.

         27.   Plaintiff is entitled to late fees from Inland with respect to each payment it failed to

timely make thereunder.

         28.   Plaintiff has performed all of its obligations under the Finance Agreement.

       WHEREFORE, Plaintiff requests the Court enter judgment against Defendant Inland

Transportation Ltd. in a sum to be determined but not less than $7,014.34, together with

appropriate interest thereon, late charges, the costs and disbursements of this action, and

reasonable attorneys’ fees, and for such other and further relief the Court deems just and

appropriate.


                                              Count II
                                  (Breach of Contract 2; Damages)

         29.   Plaintiff adopts, incorporates and realleges Paragraphs 1 through 21 as in for this

paragraph, as if the same were fully set forth herein.

         30.   The Contract 2 Finance Agreement is a valid and binding contract.

         31.   Inland failed to make the monthly payment due in January 2024, with respect to

Contract 2, and any subsequent monthly payments, and that failure has now been deemed to be an

event of default of Contract 2.

         32.   By reason of Inland’s failure to make payments when due, Plaintiff accelerated the

balance due under Contract 2.

         33.   Pursuant to Contract 2, Inland agreed that any past due amounts would carry a

default interest rate of 12% per annum.




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         34.   Pursuant to Contract 2, Plaintiff is entitled to late fees from Inland with respect to

each payment it failed to timely make thereunder.

         35.   Plaintiff has performed all of its obligations under the Finance Agreement.

       WHEREFORE, Plaintiff requests the Court enter judgment against the Defendant Inland

Transportation Ltd. in the sum of not less than $298,506.65, together with appropriate interest

thereon, late charges, the costs and disbursements of this action, and reasonable attorneys’ fees,

and for such other and further relief the Court deems just and appropriate.

                                           Count III
                                (Breach of Contract 1 Guaranty)

         36.   Plaintiff adopts, incorporates and realleges Paragraphs 1 through 28 as and for this

paragraph, as if the same were fully set forth herein.

         37.   The Contract 1 Guaranty is a valid and binding contract.

         38. In order to induce Engs Commercial, Plaintiff’s predecessor-in-interest, to enter into

the Contract 1, Guarantor, in return for good and valuable consideration, executed the personal

guaranty (the “Contract 1 Guaranty”), whereby he absolutely and unconditionally guaranteed the

payment and performance of any and all obligations of Inland to Engs Commercial and its assigns,

including Plaintiff, with respect to Contract 1, including Contract 1 Installment Payments.

         39. Guarantor is liable for all charges (including attorneys’ fees and late fees) which are

otherwise due and owing from Inland to Plaintiff pursuant to Contract 1.

         40. Guarantor remains liable to Plaintiff with respect to the Contract 1 Guaranty, in an

amount to be determined but not less than $7,014.34, together with appropriate interest thereon, late

charges, and reasonable attorneys’ fees.

         41.   Plaintiff has performed all of its obligations under the Guaranty.




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       WHEREFORE, Plaintiff requests the Court enter judgment against the Defendant

Ulugbek Kuchkarov in the sum of not less than $7,014.34, together with the appropriate interest

thereon, late charges, the costs and disbursements of this action, and reasonable attorneys’ fees,

and for such other and further relief the Court deems just and appropriate.


                                           Count IV
                                (Breach of Contract 2 Guaranty)

         42.   Plaintiff adopts, incorporates and realleges Paragraphs 29-34 as and for this

paragraph, as if the same were fully set forth herein.

         43.   The Contract 2 Guaranty is a valid and binding contract.

         44.    In order to induce Engs Commercial, Plaintiff’s predecessor-in-interest, to enter into

the Contract 2, Guarantor, in return for good and valuable consideration, executed the personal

guaranty (the “Contract 1 Guaranty”), whereby he absolutely and unconditionally guaranteed the

payment and performance of any and all obligations of Inland to Engs Commercial and its assigns,

including Plaintiff, with respect to Contract 2, including Contract 2 Installment Payments.

         45. By reason of the Contract 2 Guaranty, Guarantor is liable for all charges (including

attorneys’ fees and late fees) which are otherwise due and owing from Inland to Plaintiff pursuant to

Contract 2.

         46.   Guarantor is and remains liable to Plaintiff with respect to the Contract 2 Guaranty, in

the amount of not less than $298,506.65, together with appropriate interest thereon, late charges, and

reasonable attorneys’ fees.

         47.   Plaintiff has performed all of its obligations under the Guaranty.

       WHEREFORE, Plaintiff requests the Court enter judgment against the Defendant

Ulugbek Kuchkarov in amounts to be determined but not less than $298,506.65, together with the

appropriate interest thereon, late charges, the costs and disbursements of this action, and

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reasonable attorneys’ fees, and for such other and further relief the Court deems just and

appropriate.

                                           Count V
                                (Breach of Contract-Possession)

         48.   Plaintiff adopts, incorporates and realleges Paragraphs 1-47 as and for this

paragraph, as if the same were fully set forth herein.

         49.   The Finance Agreements provide that in the event of default, Plaintiff may, without

demand or notice of any kind, declare the entire unpaid indebtedness to be immediately due and

payable and enter upon the premises where the Collateral is located to take possession of and remove

same.

         50.   Because Inland has defaulted under the terms of the Finance Agreements, Plaintiff is

entitled to immediate possession of the Collateral, together with “all additions, replacements,

accessions, accessories, attachments, substitutions, exchanges, improvements, repairs, parts,

replacement parts, manuals and reference books…”..

         51.   Upon information and belief, the Collateral is being held, detained, and converted by

the Defendants in contravention of the rights of Plaintiff.

         52.   Specifically, Plaintiff is entitled to a judgment of possession against Defendants for the

following Collateral: One 2016 Utility Refrigerated Trailer (S/No. 1UYVS2535GU430514), One

2017 Utility Refrigerated Trailer (S/No. 1UYVS2532HM802019), One 2013 Utility Refrigerated

Trailer (S/No. 1UYVS2539DU541126), with a 2015 Carrier X4-7500 Refrigeration Unit, a 2016

Carrier X4-7500 Refrigeration Unit and a 2012 Carrier X4-2100A Refrigeration Unit (S/Nos

RAH91410616, RAU91452716, NAX91297528, respectively), and Two (2) 2021 Freightliner

Cascadia       (CA125SLP)         Sleeper      Tractors       (S/Nos       3AKJHHDR9MSMR8186,

3AKJHHDR0MSMR8187) together with “all additions, replacements, accessions, accessories,


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attachments, substitutions, exchanges, improvements, repairs, parts, replacement parts, manuals

and reference books…”

               WHEREFORE, Plaintiff requests this Court enter judgment against the

Defendants and awarding Plaintiff possession of the Collateral, specifically One 2016 Utility

Refrigerated Trailer (S/No. 1UYVS2535GU430514), One 2017 Utility Refrigerated Trailer (S/No.

1UYVS2532HM802019), One 2013 Utility Refrigerated Trailer (S/No. 1UYVS2539DU541126),

with a 2015 Carrier X4-7500 Refrigeration Unit, a 2016 Carrier X4-7500 Refrigeration Unit and

a 2012 Carrier X4-2100A Refrigeration Unit (S/Nos RAH91410616, RAU91452716,

NAX91297528, respectively), and Two (2) 2021 Freightliner Cascadia (CA125SLP) Sleeper

Tractors (S/Nos 3AKJHHDR9MSMR8186, 3AKJHHDR0MSMR8187) together with “all

additions, replacements, accessions, accessories, attachments, substitutions, exchanges,

improvements, repairs, parts, replacement parts, manuals and reference books…”, and for such

other and further relief the Court deems just and appropriate.




Dated: February 26, 2025              FLAGSTAR FINANCIAL & LEASING, LLC f/k/a
                                      SIGNATURE FINANCIAL, LLC

                                      By:    __/s/ Patrick Cooke
                                             Patrick Cooke, Esq. (ARDC #6229059)
                                             Swanson, Martin & Bell, LLP
                                             330 North Wabash Ave., Suite 3300
                                             Chicago, IL 60611
                                             Tel. (312) 321-9100
                                             pcooke@smbtrials.com




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    EXHIBIT 1
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  ENGS |!
  commercial inance-co,   48
                                                                     COMMERCIAL FINANCE AGREEMENT                                                                    Contract # 93957:
This Commercial Finance Agreement together with any Amendment(s), Exhibil(s), Schedule(s), Addendum(s) and/or other attachments (coltectively, this “CFA") dated as of January-20,
2020 ts entered into by and between Engs Corimercial Finance Co, (‘Creditor’), a Califomia comoration having ils principal place of business at One Plerce Place, Sulte 1100
West, Itasca, Illinois 80443 and
    INLAND TRANSPORTATION LTD. (“Borrower*), with a place of business located 746 GENESEE DR, NAPERVILLE, IL 60563 telephone number(s): 407-929-1469
    407-929-1169 and email address; ulug1705@amall.com
The use of the word "You," "Your" and “Your Company” In this CFA refers to each of the Borowers and Co-Borrowers, ifany, If more than one Borrower Is tamed In this CFA, the liability
of each Boiower shall be joint and several aitd shall be subijéct fo the terms of Section 20(C), “We, “Us” and "Our" refers to Creditor and its uecessors and designs. “Tenn” shall mean
the period starting on the Commencement Data (defined below} and loan expiration,
1. Equipment Description (include Quantity, Year, Make, Model and Seriat No. and/or VIN No.). The Collateral-desoribed below and/or listed on an attached Schedule of Deater
lnvoice(s) Identified by Creditor for such purpose, including all additions, replacements, accessions, accessories, attachments, substilutions, exchanges, improvements, repairs, parts,
replacement paris, manuals and telerence books, supplements, upgrades, thereto and thereof, however designated together with any related software license(s), software, as may be
modified, corrected, supplemented or enhanced from time fo time, and the proceeds thereon, including any and all cash and non-cash proceeds from any source, including bul not limited
fo Insurance proceeds (herelnafter collactively retarted lo as "Callateral’):

        _QUANTITY | COLLATERAL DESCRIPTION                                                                               VIN# / SERIAL NUMBER
             4      2616 UTILITY 83 X 102 REFRIGERATED TRAILER (Used)                                                    TUYVS25356U430514
              j     2017 UTILITY53 X 102 REFRIGERATED TRAILER {Used}                                                     {UYVS2532HM8)2049
             4      2013 UTILITY 53-X 102 REFRIGERATED TRAILER (Used)                                                    {UYVS2539DU544126
                    WITH A 2015 CARRIER X4-7600 REFRIGERATION UNIT SIN HRAH91410616                                                                j
                    WITH A 2016 CARRIER X4-7500 REFRIGERATION UNIT SIN #RAU94452716
                    WITHA 2012 CARRIER X4-2100A REFRIGERATION UNIT SIN #NAX91207528
2. Name and location of “Dealer”: You-are solely responsible for the. selection of the Dealer and/or manufacturer referenced below:
       MIDWEST UTILITY, INC.
       15 W, 700 N, FRONTAGE RD, BURR RIDGE, It 60527
       630-789-2700

                                                                                                                                                                            $444,616.00
             CASH DOWN PAYMENT (ff check is payable to Eags Commercial Finance Co., please note                                                                                    a
             any payment in excess of $5,000.00 must be made vie cashla rs check or wira.)t
            TOTAL NET TRADE-IN:
         TOTAL DOWN PAYMENT (due at the time of execution):                                                          ;              .              .                          $5,730.80
           FEES, CHARGES AND PREMIUMS INCLUDED IN YOUR AMOUNT FINANCED
               SALES TAX:                                                                                                                         $0.00.
               DOCUMENTATION FEE FINANCED:                                         .                                                    _       $795.00
               INTERIM CHARGE {provides 45 or more days before naxt payment dete):                                                                $0.00
               FLORIDA STAMP TAX:                                                                                           j                     $0.00
            OTHER FEES FINANCED:
         TOTAL FEESICHARGES FINANCED:                                      .                                                                    $795.00         |
         TOTAL AMOUNT FINANCED:                                                                                                 .           .                              $109,680.20
         MONTHLY INVOICE FEE (waived only for electronic payment):                                                                                         __                   $10.00
        "ADVANGE PAYMENT(S}, FEES, CHARGES; TAXES = DUEATSIGNING.                                      cs
        —o___ADVANGE           PAYMENT(S) OF:               _———
       “FEESICH.                  E     AT-SIGNING (NON:FINANCED}::“>
         TOTAL FEES, CHARGES, TAXES (NON-FINANCED}                                                 .        |
         TOTAL AMOUNT DUE AT SIGNING:                                                                                                                  .                          $0.00
4, Payment Schedule, Term, Number and Amountof installment Payments and Installment Due Date:
                                                                                       48 MONTHTERM (TERM!) =~
                                                                INSTALLMENT PAYMENTS:             [ 48 @ $2,738.69
                                                                “INVOICE
                                                                       DUE DATE:AND INSTAELMENT-PAYMENT
                                                                                                  AMOUNT:
         INVOICE DUE DATE:                                                       Macch 1, 2020 | INVOICE AMOUNT:                                                              $2,736.68




205707 \ 93957. (01/29/20 - 109680.2)
{CMT-00321) VEHICLE-CFA (Rev 01.03,20)
                                                                                              Page t of 6
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§. NO WARRANTIES: YOU ACKNOWLEDGE THAT WE ARE NOT THE                                                benefitUs and those. of Gur assignees who have been assigned both this CFA
MANUFACTURER: OF THE COLLATERAL NOR THE MANUFACTURER’S                                               and such other debts, liabilities or obligations.
AGENT NOR A DEALER THERETO. YOU ARE FINANCING THE                                                    8    Ordering Collateral, Delivery and Acceptance;          {f You entered into any
COLLATERAL “AS IS” AND WITH:ALL FAULTS.                            WE DO.NOT MAKE AND                purchase or supply contract with any Dealer, manufactureror suppiter for the
WE    HEREBY          DISCLAIM         ANY    WARRANTY             OR     REPRESENTATION             Collateral, You hereby: assign to-Us all of Your rights Under such purchase or
WHATSOEVER,           EXPRESS. OR IMPLIED, WITH RESPECT                              TO-   THE       supply contract, but none of Your obligations, except for the obligation to pay:
COLLATERAL,           INCLUDING, WITHOUT   LIMITATION AS                            TO.    THE       for the Collateral if itis accepted by You according to the terms ofthis CFA. The
DURABILITY,           QUALITY,          CONDITION           OR          SUITABILITY,       THE       occurrenceof the Commencement
                                                                                                                                Date (as defined below) shall he coriclusive
MERCHANTABILITY OF THE COLLATERAL, OR ITS FITNESS FOR ANY                                            evidence that You have. Inspected, tested and confirmed Your satisfaction with
PARTICULAR PURPOSE,                WE SHALL NOT BE LIABLE FOR ANY LOSS,                              the Collateral, accepted the Coflateral on an “AS-IS, WHEREAS   AND WITH ALL
DAMAGE    OR EXPENSE OF ANY                          KIND CAUSED   DIRECTLY                 OR       FAULTS’ basis for all purposes hereunder, and directed Us to make paymentfor
INDIRECTLY BY THE COLLATERAL                         OR ITS USE, OPERATION,                 OR       Your acquisition of the Collateral as provided herein. _
POSSESSION, OR BY ANY DAMAGE WHATSOEVER AND HOWEVER                                                  9,   Borrower Reprasentations and Warranties:           You represent and warrant
CAUSED. IF TRE COLLATERAL DOES NOT OPERATE AS REPRESENTED                                            to Us that as of (Ke date on which You execute this CFA and the
‘OR WARRANTED BY THE DEALER OR MANUFACTURER,          OR IS                                          Commencement Date: (i).if You'are a partnership, corporation, limited flabllity
 UNSATISFACTORY FOR ANY REASON, REGARDLESS OF CAUSE: OR                                              company or other legal entity, the execution and delivery of this CFA and the
‘CONSEQUENCE, YOUR ONLY REMEDY,IF ANY, SHALL BE AGAINST THE                                          performance of Your obligations hereunder and thereunder have been duly
DEALER OR MANUFACTURER OF THE COLLATERAL AND NOT AGAINST                                             authorized by all necessary action on Your part and afe not in contravention of,
US. NO DEFECT, DAMAGE OR UNFITNESS OF THE COLLATERAL FOR                                             and will not result in a breach of, ahy of the terms of Your charter, by-laws,
ANY PURPOSE SHALL RELIEVE YOUR OBLIGATION. TO MAKE                                                   articles of incorporation or other organizational documents             or any joan
PAYMENTS OR RELIEVE YOU OF ANY OTHER OBLIGATION UNDER THIS                                           agreements or indentures of Yours, or any other contract, agreement or
CFA. TO THE EXTENT PERMITTED BY THE MANUFACTURER OR DEALER                                           instrument to which You are a party or by which You are bound; (li) the person
AND PROVIDED NG DEFAULT HAS OCCURRED AND 1S CONTINUING                                               signing this CFA on Your behalf is duly authorized, and this CFA has been duly
-HEREUNDER,        WE         ASSIGN    ALL   MANUFACTURER'S                AND   DEALER'S           authorized, execiited arid delivered; {ili) this CFAis Your legal, valid and binding
‘WARRANTIES TO YOU.              No defect or unfitness of the Collateral, and no failure            agreement enforceable against You in accordance with its terms, and the-
on the part of the manufacturer, Dealer or the shipper of the Collateral to deliver                  execution, delivery and performance. of this CFA is not ih contravention of or
the Collateral or any part thereof fo You shall relieve ‘You of the obligation to pay                resuit.of any breach of any ioan agreements, indentures of Yours or any other
any installment Payment or any other obligation hereunder. We-shall have no                          contract, agreement
                                                                                                                    of instrument to which. You are a party or by which You are
 obligation. in respect of the Collateral arid shalt have rio obligation to install, test,           bound; {iv) Your exact legal name as ft appears on Your charter or other
 adjust or service the Collateral. You shall only look to persons other than Creditor                organizational documents, including as to punctuation and capitatizatlon; and
‘such as the manufacturer, Dealeror canier thereof should any item of Collateral                     Your jurisdiction of incorporation or formation, and principal place of business
 for any reason and-in any way be defective,                                 ;                       or chief executive offics are as set forth In the heading of this CFA; (V) You are
 6, Loan: You agree to finance the Collateral together with all affixed paris,                       duly organized, validly existing and'in. good. standing under the laws of the state
‘attachments    and     accessories,      pursuant    to   the     Payment.    Schéedute   and       of Your incorporation or formation and are duly qualified and authorized’ to
itemization of Purchase Prica Sections reflected above arid subjectto the terms                      transact business In, and are-in good standing under the laws of, each other
of this CFA.    You have selected the Collateral,                Deater, and/or manufacturer         state In which the Collateral is or will ba located or otherwise necessary for the
based upon Your own judgment and disciaim any rellance uporrany statements                           conduct of Your business; (vi) there has been no change in Your namie, of the
or representations made by Us. You agree to indemnify and hold Us harmless                           name under which You conduct business, within the one (1) year preceding the
and to defend Us against any claim of ilability by Dealer.                We may in Our sole         date: hereof except as previously reported in writing te Us; (vil) You have not.
dlscretion, accept a photocopy, electronically transmitted facsimile, electronic                     moved Your principal olace of business or chief executive office; or have not.
version of other reproduction of this CFA (a “Counterpart’) as the binding and                       changed the jurisdiction of Your organization, within.the one (4) year preceding.
effective record of this CFA.whether or not an ink-signed copy hereof js also                        the date hereof except as previously reported in writing to Us; (vill) all
received by Us from You, provided, however, that if We accept a Counterpart                          information provided by You to Us In connection with this CFA is tue and correct
as the binding and effective record hereof, the Counterpart acknowledged In                          including the financial information which You have submitted or will submit in
writing,by Us: shail constitute the record hereof. You represent fo Ve that the                      connection with this CFA; {ix) there are no suils pending or threatened against
signature that appears.on the Counterpart that is transmitted by You to Us in                        You or any:Guarantor of Your obligations (each, a “Guarantor’) which, if decided
any manner described above Is intended by You to authenticate the Counterpart                        adversely, might materially adversely. affect Your or such Guarantor's financial
notwithstanding that such signature is electronic, facsimile, electronic version or                  condition, the value, utility or remaining useful Hfe of the Collateral, the rights
& reproduction and You further agreé that such Counterpart received by. Us,                          intended to be affordedto Us hereunderor under any guarantee or Your ability
shall, when acknowledgedin writing by Us, constitute an original document for                        or any Guarantor’s ability to perform Its obligations under the CFA or any
the purposes of -estabilshing the provisions thereof and shall be legally                            document delivered in connection herewith; and (x) none of You or any
admissible under the best evidence rule and binding on and enforceable against                       Guarantor, any of Your or any Guarantor’s subsidiaries not any director or.
You. if We accept a Counterpart as the binding and effective record hereof only                      officer of any of the foregoing is an Individual or entity that is owned or controlled
such Counterpart acknowledged in writingby Us shail be deemed an original                            by persons that are Biccked Person(s), “Blocked Person* means any person or
and to the extent that this CFA constitutes chattel paper, perfection of a security                  entity (A) thatis now or at any time. on a list of Specially Designated Nationals
‘Interest by possession. may only be accomplished by possession of the                               issued by the Office of Foreign Assets Controlled (OFAC’) of the United States
Counterpart that bears Our ink-signed or stamped acknowledgement This CFA                            Department of the Treasury or any sectoral sanctions identifications list; (B)
may be executed in counterparts, each of which when so executed shail be                             whose property or interests in property are. blocked by OFAC or who is subject
deemed to be an orginal and all of which when taken together shail constitute                        to sanctions Imposed oy law, including any executive order of any: branch.or
one ang the same agreement.                                 7                                .       department of the United States government; of (C) ctherwise désignated by               -
7. Security Interest: You hereby grant to Us.a first priority perfected security                     the United Slates or any regulator having Jurisdiction.or regulatory oversight:
interest under the Uniform Commercial Code ('UCC’) in the Collateral, whether                        over Us or our financing source, to be a person with whom
                                                                                                                                                             We           or they are not
now owriedar hereafter acquited, whather used as equipment or inventory,   and                       permitted to extend-credit ta.or with ragard to whom a buyer relationship may
                                                                                                     tesult in penalties againstUs or lImitatlons on a creditor's ability to enforce a
                                                                                                     transaction,
                                                                                                     10, Payments and Prepayment: The “Commencement Date" ofthis CFA shall
                        orn
                                                                                                     be the earlier of: {i) the Contract Date set forlh above on-this CFA, or (ii) the
                                                                                                     date:We pay Dealer for the Collateral. You agree as of the Commencement’
of the foregoing, all books and records at any time evidencing or related to the                     Date, the Collateral is subject to this CFA. The Interim Charge set farth above
foregoing and all software or other Intellectual property used in connection with                    is an amount equal to 4/30® of the monthly Instaitment Payment (set forth
the Collateral. Such security. interest: is granted to secure payment -and                           atiove) multiplied by the number of days between the Commencement
performance by You of Your obligations hereunder. You further grant to Us a                          Date and the date that Is one month prior to the. Invoice Dué Date. You
sécurity Interest in the Collateral (separate and distinct-from and subordinate                      acknowledge that the interest rate used to compute the Interim Charge Is higher
only fo the security. interest granted to Us above) to secure the payment:and                        than the implicit interest rate used to calculate tha Instaltment Payments during
performance   -of ail now existing or hereafter arising debts, liabilities and                       the Term. Ail installment Payments     are due and payable in .amears on or before
obilgations of Yours of every. kind and character, whether direct, indirect,                         the invoice Due Date (and on the same day of each subsequent month during
absolute, contingent, primary, secondary, or otherwise to Us, whether under this                     the Term). Your. recelpt of an invalcais not a Condition of Your obligation to pay
GFA or any other agreement, and whelher due directly or acquired by                                  Your Installment Payments or other charges when due. !f the Installment
assignment, transfer, renewal, extension, refinancing or other means                                 Payment includes a cost of service and/or maintenance, You acknowledge that
(‘Liabilities’), provided, however, that such cross-collateralization shalt only                     such inclusion fs for Your convenience, You will not assert against Us any claim,
                                                                                                     defense, set-off of dernahd for compensation for any reason, including those
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which You might have under any service or maintenance contract relating to the            annually during the Tern, and whenever thare ls a change in carrier or other
Collateral. We reserve the right to adjust. Your Installment: Payment, reflected          change in the Insurance required hereby.         if at any time You fail to keep the
above, by up to 10% to reflect changes in the final invoice of the Dealer or              Collateral properly insured in. accordance with Our requirements of fail to deliver
manufacturer, as.appiicable. Any such adjustment to the. final Invoice of the             to Us a valid and acceptable certificate. of insurance reflecting such insurance
Deaier or manufacturer shall be rafiected on a subsequent Invoice to be sent to           as being'in effect, it will be deamed ag a:default hereunder. Regardless of the:
You within tnity 80) Says. Borrower's obligation to repay ail amounts                     existence of any applicable: insurance, You agree to indemnify and hold Us, Our
        gb           )      a8      forth h           bs         unconditional and        employees. and ‘affiliates harmiess. from all suits, claims, demands, losses,
 Te      a                                if                           ’       G   tl     damages, Judgments, obligations, actions, suits and all legal proceedings, and
accordance with the ome here \f ‘without                0 abatement,       ducti          any and ail costs and expenses in connectlon {herewith, including, attorneys’
setoff_or defense of any kind,             You agréa that lipon termination of any        fees-and liabilities arising out of, or in-any manner.conneécted with, or resulting
financed warranty or Insurance policy(les), any premium, rebate or refund will            directly or indirectly from the Collateral, including, without limitation, the
be applied to Your account; at Our option: (i) toward outstanding charges, (ii)           manufacture, purchase, loan, financing, Sélection, ownership, delivery,
future Installments, or (iil) by: adjusting Your remaining Installment Payments ta        fejection, non-delivery, transportation, possession, use, storage, operation,
reflect such rebate. However, You will remaln obligated to pay any deficlency             condition, maintenance, repair, return or other disposition of the Collateral or
charges relating to.such warranty or insurance policy(ies) after rebate or refund         with this loan, including without limitation, claims for injury to or death of persons
Is applied. You may prepay Your obligations. under this CFA in whole but notin            and for damage to, pronerty, whether arising under thie doctrine of strict llability,
part at any time upon prior written notice fo Us by paying Us, in cash, the unpaid        by operation of law or. otherwise, and to give Creditor prompt notice of. any such
principal balance, plus. $250, plus one percent (1%) of the unpaid principal              claim or liability, If You fail to. keep the Collateral properly: Insured, then, in
balance for each 12-month period remaining on this CFA (‘Prepayment’). A.                 addition to the other remedies available hereunder, We have the right, but not
partial 12-month period remaining shall be deemed a full 12-month period                  tha obligation, to obtain such insurance for the Term at Your expense and if so
remaining for purposes of calculating the Prepaymentiamount TIME IS OF                    obtained, We will add to Your Installment Payments due hereunder and You will
THE ESSENCE WITH RESPECT TO THE OBLIGATIONS OF BORROWER                                   pay to Us Our costs of obtaining such insurance and any customary fees or
UNDER THIS AGREEMENT,                                                                     charges of Ours or Our designees associated with such ingurance, You. also
44, Use and Location: You agree that the Collateral will be used for its                  agree to pay an administrative fee equal.to. 10%.of Your Installment, Payment
intended purpose, and that the foan contemplated hereby and Your use.of the               for each 30-day period during the Term the Collateral is uninsured or remains
Collateral will be solely for commercial and business purposes and not for                improperly insured: You understand that this fee will not be utilized to obtain
personal, family.or household purposes. You shall NOT use the Collateral fo               Insurance on Your behalf and any Insurance We purchase-as. permitted hereby
haul or transport any hazardous matarials.or products. You will not transport             will benefit Us and not’ You and.may be’ more. expensive than insurance you.
persons for hire without our Witten consent. ‘The Collateral will be and shall            could purchase by compliance with the terms hereof. Nothing in this CFA nor
remain personal property and, at Your expense, You shail keep the Collateral              Our actions hereunder, including without limitation Our assessment of
‘free from any and: all liens and encumbrances other than any: liens or                   administrative fees or other amounts permitted hereby, shall mean that We are
 encumbrances in favor of Us; You shall mark and identify the Collateral with ail         selling Insurance or providing insurance coverage. The fees and other amounts
informalion and ih such manher as We or Our assigns may request from time to              payable hereunder do not necessarily refiect actual costs or exposures and thay
timie and replace promptly any such markings or identifications which are                 result in additional profit to Us. ‘You may, upon not less than thirty (30) days
femoved, defaced or destroyed. You shall give Us immediate notice of any                  express written notice to Us and delivery to Us of satisfactory insurance
altachment or other judicial process, Heng’ or encumbrances. affecting the                certificates or other satisfactory evidence of insurance complying with the terms
Collateral. You shall keep the Collateral at the Borrower's address or Collateral         of this CFA, terminate any insurance or related charges pursuant to this Section.
Location referenced herein.        You may not store the Collateral at ahy other          Your obligations undar this Section shall survive termination or expiration of this
location wilhout Our      prior writen     consent.   Borrower   shail not part with      CFA.
possession or. control of the Collateral or suffer or allow to pass out of its            14, Taxes and Fees: You agree to pay when due or reimburse Us for all excise
possession or control any itern of Collateral.                                            and other taxes, fees, fines, penalties and intemal administrative costs relating:
   Coflateral Locatlon (if difterent enter bataw):                                        to use or ownership of the Collateral-or to this CFA, including but not Iimifed.to
  3485 1L-426, OSWEGO It 80543                                                            documentary stamp taxes, ‘now or hereafter Imposed, ievied or assessed by any
                                                                                          federal, state or local goverment or agency. If any federal, state, county or local
                                                                                          government or agency requires any taxes, charges or fees to. be paid ih
12. Maintenance, Installation: You are responsible for any installation costs             advance, and We pay such taxes, charges or fees, We reserve the right to
                                                                                          adjust-the remaining payments, so that We may recover any payment of such
arid You agreé to keep the Collateral, at Your cost, in good repair and working
order and pay all costs relating to the use and operation of the.Collatera!. Except
                                                                                          taxes, charges or fees.       Any such adjustment shail be reflected on Your
                                                                                          subsequent invoice(s}.      You agree to comply with all. registration, filing,
for upgrades that do not reduce the value or marketability of tha Collateral and
                                                                                          llcensing, tax and-tile laws applicable-.to the Collateral and-will be responsible
as required to comply with this Section, You shall not make any alterations,              for.any fees or penalties for failure to do so.ona timely basis. Your obligations
additions or improvemients to the. Collateral: withiout Our prior written consent,
                                                                                          under this Section shalt survive termination or expiration of this CFA.
except that You shall make all modifications and improvements thereto in
                                                                                          15;. Titled Equipment: Any Collateral that is subject to. title and/or registration’
accordance with any mariufacturer’s specifications and as otherwise required by
law. All-additions and Improvements. made.to the Collateral shall immediately             laws shall be titled and registered.as required by law within ten (10) days of Your
                                                                                          receipt of the Collateral, listing Us.as sole lienholder.     Failure to do so will be
become the property of Creditor and be deemed part of the Collateral for all
purposes and shall not be removed if removal would impair the Collateral’s                deemed an event of default hereunder.ou           Ppa
                                                                                                                                              ‘ment    ar aaah
                                                                                                                                                       for sac    sana
                                                                                                                                                                  addition
ecoriomic value or furictional utility.     Any: modifications shell be made in
                                                                                          day     period during that.the C: ni                   egiste              erty:
accordance with the recommendations and standards set by the manufacturer of
                                                                                           itled or realstered. You unde               his fee will n         iz
the parts: or devices included In such modification.          You shail be solely
                                                                                          any taxes or registration fees on. Your behalf. The fees and other amounts
responsible for, and shall indemnify, defend and hold Us harmless from and
                                                                                          payable hereunder do not necessarily reflect actual costs or exposures.and may
agalist, any arid all daims resulting from. the breach of this Section.
                                                                                          tesult-in additional profit to Us.
13. Insurance; Indemnification: You agree at all times, at your own expense,
                                                                                          46. Default and Remedies: Each of the following, and any other events or
to: (i) insure the Collateral. against oss, theft or damage from every: cause
                                                                                          circumstances herein provided to be a Default, is a "Default under this CFA: (i)
whatsoever {n-an amount not less than the Total Amount Financed reffected,
above and on stich terms as specified In Our insurance Request Form; (ii)
                                                                                          failure fo pay when due any amount due under this CFA or any other amount due
maintain comprehensive: general liability collision Insurance insuring against
                                                                                          and owing by You to Creditor, (li). Your breach or failire to perform any other
                                                                                          covenants and prornises under this CFA or arly other agreement entered into by
liability for property damage, death and bodily Injury: rasulting from Collateral,        You with Creditor (fi) the death of any. individual Borrower, of pariner of
a8 spécified In our Insurance Request Fom, (iii) name Us and/or Our assigns
                                                                                          Borrower if Borrower is:a partnership; or any Guarantor; (Iv) Your failure to pay.
on the forgoing poticy(ies) as sole Loss Payee; and (iv) maintain such coverage
                                                                                          indebtedness when due to other fenders; (y) any attempt by You to sell, rent or
from an insurance carrier or carriers acceptable to Us. All policies shai] contain
                                                                                          lease the Colfaterai or any Interest therein to anyone other than Us or a Co-
clauses naming Us and Our assignees "Loss Payee” and requiring the Insurer
                                                                                          Borrower named herein (and any such attempt shall be void); {vi} allowing
to furnish Us with at least thirty (30) days prior written notice of any material         anyone other than You to operate the Collateral, (vii) You or any Guarantor
change, cancellation, or non-fenewal of coverage and stating that. coverage.
                                                                                          makes an assignment for the benefit of creditors, or becomes insolvent; (vill) You
shall not be Invalidated against Us or Our assigns because of any violation of            or any Guarantor threatens. to. cease or ceases fo do business as a going
ary condition or warranty. contelned In any policy or appilcation therefor by
Borrower of by reason of any. action or inaction. of Borrower. You agree to inform
                                                                                          concen, seeks any arrangement of compromise with creditors, dissolves, or
                                                                                          takes ary actions regarding the cessation or winding up of Your business affairs
Us immediately in writing of any notices from, or other communications with,
any insurers that may in any way adversely afféct-tha insurance policies being            of the business affairs of any Guarantor, {ix) any representation or warranty made
                                                                                          by You herein or in any document of certificate fyumished by You to-Us either
maintained pursuant hereto or of any insurance.claims. No insurance shall be
                                                                                          directly or indirectly is incorrect In any material respect at: any time, (x) You or any
subject to any co-insurance clause. You agree to provide Us wilh certificates
                                                                                          Guarantor files for bankrupicy or enters into any reorganization proceeding: (xi)
or other evidence of insurance acceptable fo Us, before the Term begins, and

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any   proceeding      in   bankruptcy,    recelvership,   liquidation. or   insolvency   Is      provided under La. R.S. §9:5136, ef seq. You agree to pay the reasonable fees.
commenced against You or Your property or any Guarantor or their property; (xi)                  and expenses of such Keeper, which compensation to the Kéeper shall also be
any Guarantor fails to pay.or perform any-obligation.to Us, or fails to observe or               a part of the secured Liabilities under this CFA.         ;    ;         ;     ;
perform any term, condition, covenant, representation or warranty containedin                    47, Late Charge: If You failto pay any-sum.due under this CFA within five (5)
ahy, agreement made by such Guarantorin favor of Us; and/or (xiii} We believe,                   days after its due date (‘Late Payment’), You agree to pay Us a late charge (as
acting reasonably and in good faith, that the prospectof payment to Us under                     réasdnabie liquidated damages and not.as 4 penalty) equal to, the greater of
this CFA is-impaired.. Upon Default and at any time thereafter, at Our election,                 $50.00 or 10% of the Late Payment not to exceed the maximum amount
We may (a) accelerate the unpaid balance due hereunder, without protest,                         permitted by applicable law (Late Charge’). If any check or funds transfer
preséniment, demand of notice, {including but not limited to nolice of intent to                 request for any paymentis retumed:to Us unpald, You shall pay Us a service
accelerate and notke:of acceleration), afl of which You walve, and require that                  charge of $55 for eacti such refumed check or request
You pay; as reasonable liquidated damages for loss of bargain, the*Accelerated                   48.   Assignnient and inspection:       YOU _HAVE NO RIGHT       TO SELL,
Balance’; (b) require that You deliver to Us the Collateral; (c) repossess the                                                                   FA OR THE       CO
Collateral or disable the. Collateral without court order and You will not make                  GRANT_A_ SECURITY INTEREST IN OR                    THERWISE         ENCL       :
any claims against Us for damages or trespass or any other reason; (d):sell the                  COLLATERAL OR THIS CFA. We may sell, transfer, assign, or encumber this
Collateral by public or private Salé, retain the Collateral in full or partial                   CFAor the related Collateral without notice or consent. You agree that if We sell,
satisfaction of Your obligations hereunder, or otherwise dispose of tha Collateral               transfer, assign, or encumber this. CFA or the related Collateral, the assignee will
                                       and clearof any of Your claimsor rights, without,         have the rights and benefits that We-assign to the assignee and will nat have to
                                        juired_by law, and if notice     is       ted            perform any of Our obligations. You agree that    the rights of the assignee will not
  quirementshall be met i              2 is-given al least. ten (40). days  befor the sa         be subject to any claini, defense or set-off that You may have against Us. We
or other disposition; {e) sue.to enforce Your performance hereof; (f} recove                     and Our agents and representatives shall have the right at any ime during
                                                                                                 regular business hours to Inspect the Collateral and for that purpose to have
recoverable hereunder from the date It becomes payable ‘until fully paid-at the                  eves to the location of the Collaferal without any claims for trespass. or
rate of the lesser of 12% per annum or the highest rate permitted by law; and/or                    amages.
(Q) pursue any right or remedy available to Us:at law, or inequity, Including any                 19. Risk of Loss.     You hereby assume and shall bear the entire. risk of loss,
rights or remedies under the UCC. The “Accelerated Balance’ will. be equal to                    theft. damage and destruction of the Collateral from any cause whatsoever
the totalof {x} all accrued and. unpaid amounts then due and owing hereunder,                    commencing upon the earlier of the delivery of the Collateral to You or the date
and (y) the sum of the remalning installment Payments scheduled to be paid’                      We advance any portion of the Amount Financed hereunder and no loss, theft,
hereunder discounted by the rate of 1.5% per arinurh, and (z) any recovery by                    damage or destruction of the Collateral shall relleve You of the obligation to make
Us in excess of unamortized Total Amount Finariced (as defined above)                            scheduled Installment Paymentsor any other obligation under this CFA, and this
constituting make-whole premium, compensation for loss of bargain and                            CFA shall temain-in    full. force and effect exceptas provided herein. You shalt
unamortized overhead and closing costs and other compensation and not a                          notify Us In. writing within five (5) days of any item of Collateral becoming lost,
penalty as ‘You expressly agree, tn addition, You agreeto pay Our reasonable.                    stolen or damaged and of the circumstances and extent of such damage. if
attomeys’ fees and actual coats including repossession, refurbishing tha                         damage of any kind occurs'to any item of Collateral,
                                                                                                                                                   You, at Our option, shall at
Collateral and collection coats, and all non-sufficient funds charges and similar                 Your expense (a):piace the item in good repair, condition or working order, or (b)
charges, and You:shall deliver the Collateral (at Your expense) io.@ location                     if the Collateral cannot be repaired or ts lost, stolen, destroyed, rendered
designated by Us. Each remedy shail he cumulative and in addition to any other                    permanently unfit. for use for any reason, or In the eventof condemnation or
remedy referred to above or otherwise. available to Us at faw or equity. No                       seizure of an item of Collateral, pay to Us an     amount equal fo the sum of the
express or implied waiver of any default shall constitute a waiver of any of Our                 follewing: (1).all amounts payable by You hereunder due but unpaid asof such
other rights. Our election to exercise any remedy. avaliable hereunder, at law or                date plus (2} the amount of all remaining unpaid installment Payments
in equity, shall not prevent Us from exercising. any other available remedy,                     hereunder not yet-due as-of such date, discounted from the respactive dates
whether concurrently or at a latertime. Upon default and at any time thereafter,                 payments would be due at the Discount Rate as defined below, “Discount Rate’
at Our election, We can accelerate, In accordance    with actual law, the entire                  Means (i) the rate set forth for the United States: Treasury Bond or Note-having
unpaid balance due hereunder and require that You pay, a8 reasonable                              the closest term to (but nat longer than) the original term of this loan, as-set forth
Hquidated damages for loss of bargain, the “Accelerated Balance.” The                             in the Wall Street Journal two (2) business days prior to the Commencement
Accelerated Saltanve will be equal to the total of (i) all accrued and unpaid                     Date; (ii) the rate set forth-for the United States Treasury Bond or Note having
amounts then due and: owing hereunder, and (ii) ihe sum. of the remaining                         the closest term fo (but not longer than) the remaining tem of this CFA, as set
Payments scheduled to be paid hereunder discounted by 1 % percent, and will                      forth in the Wall Street Joumal two (2) business. days prior to the date of
be Immediately due and payable, without protest, presentment demand of                           calculation of this amount, or (iii) 1.5%, whichever Is lowest. Ifa rate referred to
notice {including but not Ilmited to notice of intent to accelerate and notice of                in the preceding clauses *{l)" or “di)* is not published In the Wall Street Journal,
acceleration), ail of which You waive, We can also pursue.any
                                                          of the remedies                         such rate shall be taken from a reputable source: selected by Us.
available to Us under the UCC or any other law. in addition, You agree to pay                     20.   Borrower's. Covenants,     You shall not sell, transferor assign:any material
Qur reasonable attorneys’ fees and actual costs Including repossession,                           portion of Your asseta; allow a controlling interest in Borrower to be sold,
refurbishing the Collateral and collection costs, and ail non-sufficient funds                    transferred or assigriédto any person(s) or entity(les) other than those who hold
charges and similar charges, and You shall deliver the Collateral {at Your                        a controlling Interest as of the date hereof, whether by merger, sale-or otherwise;
expense} to a location designated by Us,                                                          allow a Blocked Person to have-an ownership interest in or control of Borrower,
Louisiana Default Remedies under Chapter 9 of Louisiana Law. This                                 enter into any merger Gt reorganization in whick You are not the surviving entity.
subsection shall apply to any of the Coilateral {including any Collateral                         or unless You shall have given Us not less than thirty (30) days’ prior written
proceeds) that, at any time, is or may be focated In the State of Louisiana, or                   notice change (|) Your name or business.addiess from that set forth above, anid,
otherwise be subject to the application of Louisiana law in any respect (the                      if an individual, Your state of residence, (ii) the state under whose laws You are
"Louisiana Collateral’). Upon the eccurrence of any event of default, We-shall                    organized as of the date hereof, or (ill) the type of organization under which You
have the following rights and remedies with respect fo the Loulsiana Collateral,                  exist as of the date hereof.
which rights and remedies are in addition to, and not in lieu or imitation of, any                (B) Authorized Signer Covenant.      The signer(s) who execute this CFA and any
other fights and remedies that. may be available to. Us under this CFA, under                     other ancillary documents are duly authorized. by Borrower and should any
Chapter 9 of the Loulsiana.Commercial Laws, under the laws in effect in any:                      signer{s) later be found to be. unable to bind Borrower, sald signer(s) shall be
state other than Louisiana, or at law or equity generally,                                        personally Hable for any obligations Incurred under tha CFA and any ancillary:
For purposes of foreclostire undér Louisiana execulory process procedures,                        documents, in addilion to the lability of the Borrower.
You confess judgment and acknowledge to be indebted unto and in favor of Us                       (C) Co-Borrower Covenants, If there is more than one Borrower executing this
up to the full amount of Your Liabillties plus interest, costs, expenses, alforney’s              GFA, each. undersigned Borrower shall be designated as Borrower hereunder
fees, and other fees and charges,           To the extent pemnitted under applicable              and all documents executed In connection herewith. Each Borrower agrees: (j}
Louisiana law, You additionally waive (a) the benefit of appralsal as provided                    all obligations shail ba joint and several and each Borrower shai) be individually
in Articles 2332, 2336, 2723.and 2724 of the Loulsiana Code of Civil Procedure                    responsible for fulfilllag all obligations of Borrower hereunder; (li) any Default by
and alt other laws with regard to appraisal upon judicial sale; (b) any right to                  any Borrower shail be a Default by each other Borrower, (ill) the mutual
receive demand for payment from the court prior to the court issuing a writ of                    understanding reached by éach Borrower in this regard is consideration for each
seizure and sale; (c). the notice of seizures as provided under Articles 2293 and                 Borrower's execution hereto; (iv) each Borrower will receive the benefit of lhe
2721 of the Louisiana Code of Civil Procedure; and (e) all other benefits                         financing made. hereunder and We would not otherwise enter into or provide
provided under Artides 2331, 2722 and 2723 of the Loulsiana Code of Civil                         financing under any    Agreement without each. Borrower's execution; and (v) We
Procedure. and alt other Articles not specifically mentioned above.                               shall be entitled to pursue all fights and remedies hereunder against each
Should any-of tha Loulsiana Collateral be selzed as an Incident to-an action,                     Borrower upon any Default by any Borrower. Ail representations, covenants,
You agree that the court issuing any such order shall, if requested by Us,                        agreements and obligalions Imposed on each Borrower shail be birding on
appoint Us or any person of entity named by Us at the time such seizure Is                        each other Borrower and the act of any Borrower shall bind all other Borrowers
requested, or at any time thereafter, as keeper of the Louisiana Collateral as                    and We shall be authorized to refy, without investigation, on the authority of any

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Borrower to give any notice, grant any consent and Our notice. to one Borower              Notwithstanding the foregoing, to the extent there are etrors or omissions in the:
shail suffice as notice to all Borrowers. Each Borrower's obligations shall not be         information contained in this CFA and/or any attachment to this CFA, We may by
affected by any action taken or not taken by Us against any. other Borrower,               written notice to You correct such enors cr omissions, You agree that this CFA
Guarantor(s) or the Collateral for any reason whatsoever, including: {i} any               will be binding upon Your successors and-assigns, You agrea that Our waiver of
action by any Borrower, (ii) any exercise or nof-exercise of any rightor remedy            any provision hereunder must bé in writing and shall not constitute a Waiver of
against any Borrower, (iil) any voluntary or Involuntary bankruptcy, insolvency,           any ather matter. Any changes fo the terms and conditions of this CFA must be
reorganization of similar proceeding by any other Borrower.                                in writing and agreed to and signed by Us, it is the express intent of the parties
21. Gonsent to Jurisdiction and Venue: You, hereby consent. to tha                         not {o violate any applicable usury laws or to exceed the maximum: amount of
jurisdiction of any local, state, or federal court located within the State of             interest permitted to be charged or collected by applicable law, and any such:
Hlinols and waive any objection based on Improper ventie or forum non                      excess payment will be applied to the paymerils in inverse order a! maturity, arid
conventens to the conduct of any action or proceeding In any such-court.                   any remaining excess will ba refunded to You. Yoii authorize Us to contact You
You further waive formal service of process and consent that all service                   via Your home or business telephone number, e-mail, cell phone or fax number.
of process may be made by mai} or messenger directed to You at the                         You authorize Us, at our discretion, to Install, at Your expense, a tracking device
address above and that service so made shall be daemad to be completed                     —_in the Collateral sé that we may monitor the Collateral-and in the event of default
upon the earlier of actual receipt, or three (3) days aftar service of process             located arid secure ihe Collateral. Any provision or clause hereof or any remedy
addressed to You to at-Your address set forth above is deposited inthe                     herein provided found to.be Invalid or unenforceable In any jurisdiction under any
mall or one (4) day-after service of process:is dailvered to a messenger or                applicable faw shall be inapplicable to the extent of such unenforceabillly or
overnight courier service for delivery ta You. You acknowledge that you                    invalidity, but the remaining provisions hereof shall be given effect in accordance
have an option to consult with counsel of your cholce regarding thls CFA                   with the manifest intent hereof, and any such invalidityor unenforceability.in any
and that it shail not be construed -againet either of us by reason of                      jurisdiction shail not render unenforceable or Invalld such provision in any other
draftsmanship,                                      /                                      jurisdiction.   You   will   promptly    execule. and   deliver   to Us   such   further
22,   GOVERNING       LAW; THE AGREEMENT SHALL BE CONSTRUED IN ALL                         docurrients, fake such further action and provide such information as We may
RESPECTS IN ACCORDANCE WITH, AND GOVERNED                      BY THE INTERNAL.            request in order to carry out more effectively the Intent and purpose of this CFA,
LAWS (AS OPPOSED TO THE CONFLICTS OF LAW PROVISIONS) OF THE                              and/or comply with. laws or fegulations applicable to Us, You, and/or the:
STATE OF ILLINQIS, EXCEPT THAT QUESTIONS AS TO.PERFECTION OF                           _ transaction evidenced by this CFA, including information identifying the owners
OUR SECURITY INTEREST AND THE EFFECT OF PERFECTION OR.NON-                               of Borrower and its affillates and their respeciive ownership'interests. At any
PERFECTION       SHALL     BE GOVERNED       BY THE LAW WHICH          WOULD     BE        time, We and any assignee of Ours. is authorized to file one or more UCG
APPLICABLE EXCEPT FOR THIS SECTION.                                                        financifig statements without Your signature.
23. JURY WAIVER: TO-THE EXTENT PERMITTED BY APPLICABLE LAW,                                27. Irrevocable Limited Power of Attorney: You hefeby irrevocably appoint
THE PARTIES HERETO EACH WAIVE ANY RIGHT TOA TRIAL BY JURY ON                               Us and/or Our suocessors end assigns your true and lawful Attomey-in-Fact.
ANY CLAIM, DEMAND, ACTION, CAUSE OF ACTION OR COUNTERCLAIM                                 coupled with an-interest with full authority and powerte do and perform all and
ARISING.UNDER OR.IN ANY WAY RELATED TO THIS AGREEMENT.                                     every act and thing whatsoever requisite and necessary to be done, as fully, to
24. Limitation of Remedies and Damages: You agree that In the eventtheré                   —_—_ail Intents and purposes ag You might or. could do if personaly present, with full
is any dispute relating to or arising in connection with the CFA, You-shall not be         power of substitullon and revocation, to.complete, sign, execute, any instrument
entitled to indirect, special, punitive or consequential damagesin connection              related {o a loss settlernent, any insurance check or authorize the applicationof
with any action arising under or in ary. way relatedto this CFA..                          warranty of insurance proceeds, file and deliver any title, Collateral registration
25. Notices: The parties to this CFA agree that any notices shall be in writing            or certificate of ownership, recording of liens; fixture filings, UCC financing
and delivered personally or by U;S, mail, certified mail ot overnight mail or by a         statement{(s), and to sell, record interest, transfer or otherwise disposeof the
nationally-recognized courler services to Borrower's address as set forth above            Collateral, whether In bulk or In parcel, whether or not the Collateral Is present at
and to Greditor’s address as set forth below the-signature lines of this CFA, or           such sale.and with or without nolice, at public or private sale. We and/or Our
at such other'addfess designatedby either partyin writing.                                 successors of assigns may apply the proceeds from any such sale or other
26, Miscellaneous! You hereby acknowledge that You and any Guarantor hava.                 disposition against any arid ail of Your obligatloris to Us and/ar Our assigns.        {f
authorized the Dealer, Us, Our subsidiaries or affillated companies, funding               Your signature on any financing statement (s required by law, You shall execute
sources and Our successors, assigns and designees to investigate and share                 such   supplemental    instruments      and   financing statements We     deem   to be
Your creditworthiness and credit capacity in connection with tha establishment,            necessary arid advisatle and shall.othenwise cooperateto deferid Our Interest in
maintenance and collection of Your account and to fumish information                       the Collateral by filing or otherwise, You also agree to pay Us on demand filing,.
conceming Your account, including insurance information to credit reporting                registration and releasing fees prescribed by the UCC or other law. Further, to
agencies, Our assignees and others who may lavwtully receive such information:             the extent warranty or insurance premium(s) is/are financed hereunder, and in
You agree, within forty-five (45) days after the end of each fiscal quarter other      _the evant of a default under this CFA, You irrevocably appoint Us.as Attomey-
than the final: fiscal quarter of each fiscal year, to deliver to Us a balance sheet       in-Fact, with full authority to (a) cancel any warranty or Insuranca policy(les) in
and statement of income at the end of such quarter, each setting forth In                  accordance with the provisions herein, (b) receive all refunds, rebates or sums
comparative form the comesponding figures for the.comparable period In the                 due under said warranty or insurance policy(ies) and (c} execute and'deliveron
preceding fiscal year and, within one hundred and twenty (120) days after the              Your behalf all: documents, forms and notices relating to the warranty or
end of each fiscal year, to.dellver to. Us a balance sheet as at the end of such’ ~—s insurance policy(les) hereunder.
year and statements of income and cash flows for such year, with accompanying              28, Electronic Payment By completing the information below, You hereby
notes to financial. statements, each setting forth in comparative form the                 authorize and request Us to initiate scheduled or periodic electronic fund transfer
corresponding. figures for the preceding year, in each case prepared in                    debits {and cradit entries and adjustments for any debit entries in error) or affect
accordance with generally accepted accounting principles and practices                     a charge by any-olher commercially accepted practice to the account indicated
consistently applied and certified by Your chief financial officer as tairly               bélow
                                                                                              in the financial institution named below. You hereby authorize and request
presenting Your financial position and résults of operations, and, ih the case of          said financial institution to honor the debit and/or credit entries initiated by Us..
year-end financial statements, certified by an independent accounting firm                 This: authorization ts for tnstallment.Payments and any open charges or fees,
acceptable to Us; and with reasonable promptness, furnish Us with such other —_— including but not limited to late charges, non-sufficient funds (NSF) charges,
information, financial or otherwise, relating to-You or the Collateral as We shall         insurance charges, or any chargesor fees related to tite.or taxes due and
reasonably request. You agree that no course of dealing:or delay or failura to             outstanding under this CFA.. This authorityis to remain tn force until such time
enforce Our rights under this CFA shall prevent Us from enforcing anyof Our                as all amounts due are pald In full of unt! We and financial Institution have
rights hereunder or under any addendums. if You fail to make any payment ar                received wiitten notification from You terminating this. authorization In such time
take any action:as.and when required by law or by this.CFA, We may do so.in                and manner as to afford Us and financial institution.a reasonable opportunityto
Your or Qur name, without waiving any default, and You will relmburse Us on                acton it, You agree that Your bank account information may be disclosed and
demand, together with Interest at the lower of 18% or the highest amount                   —authorize assignment pursuant fo Section 18 herein.
pérmitted by law. You agree that the terms and conditions reflected in this CFA
or any-attachments hereto are a complete and exclusive staternent of this CFA.




205707 \ 93957 (04/20/20— 109680.2}
 (CMT-00321) VEHICLE-CFA (Rev 01.03.20)                                                :
                                                                                  Page 5 of6
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                                                                                             (D2 Business Account            {] Checking Account
     Name of Account Holder:                                                                 C1 Personal Account             () Savings Account
   |_Bank Name and Branch:                                                                   Account Number:
     Address (city & state):

     Telephone Number:              |                                                        Routing Number:

29. ELECTRONIC SIGNATURE:                 Creditor and Bonower may slect ‘0 oxen shin CFA vig electronic Signature, if this CFA a        executed via Siecone ee      You
                                                     thi         4                                                                   ’               :       :

                      3    shall            red    :
               n eciront v rs          fth CFA,    then                                                  en                                                        é     i
shall constitute the sole authoritativ fe version. You ihe. agreee that by typing Your name in the boxes iindicated below or unl other electronic method of affixing Your
signature, either in Your Individual capacity or as an authorized representative of the Bortower, You are, confirming that You are the person so indicated in the box
below, and that You-.are praviding Your electronic signature on this CFA. Your electronic signature shall evidence Your agreement to be bound by and authenticate
this electronic record and attest to the statements contained in this CFA with the same effect as If You had manually signed this CFA. This CFA and any related
electronic docurnents are electronic records that inay be transferred, authenticated, stored and transmitted by electronic means, You agree to Keep any security
 code or password secured and will not inappropriately disclose this information to others. You also confirm that all documentation related to this transaction delivered
-of executed using Your email address, login, security code and/or password are true and correct.
YOU ACKNOWLEDGE THAT YOU HAVE READ ANDO ACCEPT THE TERMS OF THIS AGREEMENT, AMENDMENT, EXHIBIT, RIDER, AND SCHEDULE.
FURTHER, YOU ACKNOWLEDGE THAT YOU HAVE RECEIVED. AND ACCEPTED THE COLLATERAL, REQUEST THAT WE ACCEPT THIS AGREEMENT AND
PAY THE DEALER FOR INVOICE(S) RELATED TO THE ABOVE-REFERENGED COLLATERAL. THIS AGREEMENT SHALL NOT BE A VALID CONTRACT
UNTIL ACCEPTED BY CREDITOR. BORROWER(S) HEREBY WAIVES NOTICE BY CREDITOR OF ITS ACCEPTANCE OF THIS AGREEMENT.

  BORROWER:                 INLAND TRANSPORTATION LTD.



                            x       kif                                                               (PLEASE
                                                                                                         BION USfiG BLUE NII
                                          v

                            ULUGBEK-F KUCHKAROV
                            -PRESIDENT
                                                                                                      (REQUIRED
                                                                                                          PLEE SE COMPLETE)
                                                                                                                    _



  AGREED TO AND ACCEPTED:

  ENGS                              CO.       UGREDITOR”}
                     tn     ache                                                                     Address for Notice:
                                :                :                                                   P.O. Box 128
  By:      Rose Reynolds                                                                             ltasca, tL 60143-0128
  Print Name:             ROSE REYNOLOS
           Vice P                                                     (08)
  Title:            rea ere PRESIDENT - OPERATIONS




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 (CMT-00321) VEHICLE-CFA (Rev 01.03,20)
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    EXHIBIT 2
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      ENGS|
      cemidrweretel
             flame ¢ 4,

                                                                                               PERSONAL GUARANTY
                                                                                                            Contract # $3957
 tn consideration-of ENGS GOMMERCIAL FINANCE CO., (referred to as "Graditor/Lesaor’), its successors and assigns, providing any present or future financing of any nature
 fo INLAND TRANSPORTATION LTD, (referred to as “Borrower/Lessee’), the party(ies), entity(les) or individual(s) executing this Guaranty {“Guarantor{s)’), jointly, or severally
 if more than one, absolutely, unconditionally and {irrevocably guaranted to Creditor/Lessor, the payment and perf                                               of any end all dabt, ability and obligation of
 Borrower/Lessee to Creditor/Lessor (the "Obligations”}, from time to time antered Into, including but net limited to Be         fLessee's Obligalions  under any commercial finance
 agresment, commercial lease agreément, and any rider, amendment, addendum thereto and ail other agreements (collectively, “Contracts"} from time to time entered into
 between Creditor/Lessor and Borrower/Lessee, Creditor/Lessor may at ts option, proceed at.once and directly, without notice, against Guarantor(s) to collect and recover the
 full amount guaranteed or any portion of that amount, without proceeding agalnst Borrower/Lesseg or any other person or entity, or exercising          any other remedy available to
 Creditor/Lessor. Gyarantor(s};    ives ail  defenses and  notices, including those of acceptance hereot by Creditor/Lessor  and of the creation and existence of Obligations; protest,
         tment and di    id; and any and ail defenses otherwise available to a gi           rf, Surely or acc”  dation party, Guarantor(s) agrees that Creditor/Lessor may amend,
 renew, extend or otherwise modify any Obligations without affecting or impairing in any way the liability of Guarantor(s) hereunder, {f any one or more Borrowes/Lessea(s) is a
 corporation, limited liability company or partnership, It Is not necessary for Creditor/Lessor to inquire into the powers of Borrower/Lessee or the officers, directors, partners,
 members of agents acting of purparting to act on thelr behalf, and any Indebtedness      made or created in sel      upan the professed exercise of such powers shall be guaranteed ©
 and be an Obligation hereunder, Guarantor(s} will pay to Creditor/Lessor all expenses {including attorneys’ fees) incurred by Creditor/Lessor tn enforcing Cregitor/Lessor'’s rights
 against Borrower/Lessee(s) and Guaranter(s), This Guaranty will not: be discharged or atiected by the death; dissolution, terminalion, bankruptcy or insolvancy of-
 Borrower/Lessee, and will bind G             (8) helrs, personal                                 and            Guarantor(s) authorizes Credifor/Lessar or any of Creditor/Leasor's
 designese to> obtain, and share with others, credit bureay reports regarding Guarantor(s}’s personal ‘credit, and make other credit Inquiries that Creditor/Lessor determines are
          y. G          1(3}  acknowledge that this G       ty is the entire agreement with Creditor/Lessor pertaining to Hs guaranty of the obligations described herein and it cannot
 be changed except with advance written consent of Creditor/Lessor, Guarantors) agree that any failure or delay by Creditor/Lessor to enforea Its rights and remedies under this
 Guaranty does not prevent Creditor/Lessar from enforcing such rights or remedies at some future pointin time, A photocapy, .pdf copy or facsimie of this Guaranty will be legally
 admissible under the “best avidence rule,” A signed copy of thls Guaranty and/or any retafed document sent by ‘acsirnile of by email altachment in :pdf format shall be treated
 as an original:document and shall be admissible as evidence, and all signat           shall be binding as if       i signatures ware personally delivered. {f any payment applied to
 any Obligation is thereafter set aside, recovered, rescinded or required to be retumed for any reason (jricluding on account of a preference in the bankruptcy of any
 Bortower/Lessee), the Obligation to which such payment was applied shall for the purposes of thls Guaranty be deemed fo have continued in existence notwithstanding such
 application, and this Gi     ty shall be .enfarceable as to such Obligation.as fully as if such application had neves been made, GUarantor(s) will promptly executa and deliver to.
 Creditor/Lessor such further documents, and take such further action and provide such information as Creditor/Lessor may request In order to carry oul more effectively the Intent
 and purpose of this Guaranty, and or comply with laws or regulations applicable to Guarantors), Creditor/Lesser, and/or the transaction évidenced
                                                                                                                                                 by. this Guaranty, including
 information Identifying the owners of Guarantor(s) and Its affillales and thelr respective ownership interests. Guarantor(s) hereby state that no assets:are-hstd In trust,

 Credifor/Lesaor may, without notice fo or the consent of Guarantor(s). assign this Guaranty as it relates to an Obligation to. party who purchases all or part of the Obligations
 {hereinaft     ferred to individ            yas an “Assignee” and collectively as “Assignees’}. An Assignee shall have the right fo enforce this Guaranty against Guarantor(s) solely ae it
 relates to the Obtigation it     purchased,    and such e!            (may be brought saparate and apart from actions by Creditar/Lessor and/or other Assignees, Guarantors) agrees
 that it shall, upon a request from Craditor/Lessor, promplly provide lo Creditor/Lessor a capy of Guarantors’ most recent annual financlal statements and any other financial
         tion of G       tor(s) (including interim financial statements) that Creditor may request, Guarantors) authorizes Creditor to share such Information       with Creditor's affillates,
 subsidiaries, and Assignees, and with any Dealer noted in any Contract                 teed hereby, Guarantor(s) certify that the financlal information provided to Creditor/Leasor fs true,
 complete and accurate in all material respects. Guarantor(s) will not pesmit the sale or transfer of a majority of its ownership:Interests to any person or entity and Guarantor(s)
 wit not consolidate of merge with or sell of transfer all or substanilally alt of its assets to, any person or entity, of allow a Blocked Person to have an ownership interest in or
 control of Guarantor(s). “Blocked Person”          means any p      of entity that Is now or at any time (A) on a list of Specially Designated Nationals issued by the Office of Foreign
 Assets Control (‘OFAC’) of the United States Department of the Treasury or any sectoral sanctions identification Ilst, or (B) whos@ property or Interests in property are blocked
 by OFAC orwho is subject to sanctfons imposed by faw, including any executive order of any branch or department of the United States goverment or (C) otherwise designated
 by the United States or any regulator having jurisdiction or regulatory oversight-over Creditor/Lessor or Its fi          ing       8, to be a person  with whom Creditor Is not permitted
 to extend credit to or with regard to whom, a guarantor relationship may fesult In penalties against Creditor/Lessor or limitations on a creditor's ability to enforee a transaction,

 SG           tar(s)       acknowladges   that Creditor/Lessor [s relying on this Guaranty in providing financing to Borrowes/Lessee.
 THIS GUARANTY SHALL BE CONSTRUED IN ALL RESPECTS IN ACCORDANGE WITH, AND GOVERNED BY THE INTERNAL LAWS {AS OPPOSED TO THE CONFLICTS
 OF LAW PROVISIONS) OF THE STATE OF ILLINOIS. GUARANTOR(S) HEREBY CONSENTS TO THE JURISDICTION OF ANY LOCAL, STATE, OR FEDERAL COURT
 LOCATED WITHIN THE STATE OF ILLINOIS AND WAIVES ANY OBJECTION BASED ON IMPROPER VENUE OR FORUM NON CONVENIENS. GUARANTOR(S)
 ACKNOWLEDGES THAT SUCH GUARANTOR(S) HAS AN OPTION TO CONSULT WITH COUNSEL OF ITS CHOICE REGARDING THIS GUARANTY AND THAT IT SHALL
 NOT BE CONSTRUED AGAINST OTHER OF US 8Y REASON .OF DRAFTSMANSHIP, TO THE EXTENT PERMITTED BY APPLICAGLE LAW, THE PARTIES HERETO EACH
 WAIVE ANY RIGHT TO A TRIAL BY JURY ON ANY CLAIM, DEMAND, ACTION, CAUSE OF ACTION OR GOUNTERCLAIM ARISING UNDER OR IN ANY WAY RELATED
 TO THIS GUARANTY, AND UNDER ANY THEORY OF LAW OR EQUITY, WHETHER NOW EXISTING OR HEREAFTER ARISING,
                                                                                                            Jacimni,
 Grecttonessor 2and Guarantor(s) may elect to                            te       this Guaranty.      via                 signature, If this G      ty fs.
                                   ihat          (                  is        Guara       i        as be:              fea           ara     and   CreditoriLe



                                                 Guarantor(s} also agrees
                                                                     a    that by typing hisher name in the boxes ven "below 0of ‘any other electronicrr of affixing your
 signature, ite the soe confirms that helshe Is the person so Indicated In the.box below, and that he/she is providing an electronic signature on this Guaranty, Guarantors’
 elactronic signature shell evidence his/her agr        t-to be bound by and    authenticate this stect         record and attest to the statements contained in this Guaranty with the
 same effect as if Guarantor(s) had manually signed this Guaranty. This Guaranty and any                related el      ric documents are ale trani        rds that may be transferred,
 authenticated, stored and transmitted by electronic means, Guarantors) agrees to keep any                     ity code or           d       d and will not inappropriately disclose this
 information to others. Guarantors) algo confirms that ail documentation related to this transaction deilvered or executed using his/her emalt address, login, security code and/or
 paseword are Fue and correct.

  Date:      January 29, 2020

 GUARANTOR:                    ULUGBEK     F KUCHKAROV



                          Xx                ae         #e       »                                           [PLEASE SGN USING GLUE INK]
 Address:
 Emaiti:
                                                                                                                            Address for Notice:    P.O. Box 126, itaaca, IL 60743-9428               Page (off




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    EXHIBIT 3
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_ENGS                        :
   Romenarchal finance £2,   a
                                                                    COMMERCIAL FINANCE AGREEMENT                                                                     Contract
                                                                                                                                                                          # 106640
 This: Commercial Finance Agreement fogethar vith any. Amendmant{s, Exhidil{s); Schedule(s), Addandum(s): andlor other ‘attachments (collectively, this: *CFA‘) dated as of Saptember
 02,2020 Is entered info by and between Engs Commercial Finance Co. (‘Crediter’}, a Califomita corporation having lis principal place of business at One Plerce Place, Suite
1400 West, Itasca, lliInols 60143 and
     INLAND. TRANSPORTATION LTD. (*Borrowor’, with a place of business located 748: GENESEE DR, NAPERVILLE, IL 60563 telephone riumber(a); 407-929-4169
     and email address:uligt70S@amajl.com
 The use of the word "You," “Your’ and ‘Your Company" in this CFA refers to each of the Borrowers and-Co-Borrowars, if any, : it ‘more than one Borrower Is named in this CFA, the ability
 of éach Borrower shail ba joint and several and shalt. be subject {o the terms of Saction 20(C). We,’ "Us" and "Our’ refers to Creditor and is successors and assigns. “Term” shall mean
 the pedod starting on the Commencement Date (dafined belo) and loan expiration.
4, Equipment Description (Include Quantity, Year, Make, Modal     }       and Serial No. andor VIN No,). Tha Collateral, described below andor listed on an altached Schedule or Dealer
invoica{s) identified by Creditor for such pumpose; including all addittong,-replacemenis, accessions,aaccessories, attactiments, substitutions, exchanges, improvements, repairs; parts,
replacement parts; manuals and reference’ books, suipplements, upgrades, thereto and thereof, however designated together with any rélated. sofware licensé(e), software, as may be
modified, corrected, supplemented of enhanced from time (o time, and the proceeds thereon; Including any-and all cash and. fion-cash proceeds from any source, Including but not limited
to insurance proceeds (hereinafter collectively. teferred.to ag “Coltataral’};                                                oo                      ;
      QUANTITY          COLLATERAL DESCRIPTION                                                                 :
                                                                     SLEEPER TRACTORR TNE) hee
          2              2024 FREIGHTLINER -~ GASCADIA (GATRESLF)- «
                                                                                             SAKJHHOROMSMR8187
2. Name and tocaiton of "Dealer": You-are solely responsible for the selection of the Dealer andor manufacturer raferenced below:
      M & TTRUCK SALES INC, -
      7545 SOUTH MADISON: STREET, BURR RIDGE; IL 60527
      630-766-2614
a Remizatlon of Purchass Prive. Greer Ie drected to pay purchase price. deserinéd bel fo Dealer, meaffactrer andlor
                                                                                                             3      ater ie                   as follows:


         ‘GASH DOWN PAYMENT Wed ts payable to Engs Commercial Finance Ca, " please note me
         payment in.exeess of $5,000.00 must he madé vis cashter's check or wire.)!      .
         TOTAL NET TRADE-IN:
     TOTAL DOWN PAYMENT (due at the time of execution):                                                                                                                       $32,000.00
         FEES, CHARGES AND PREMIUMS INCLUDED IN YOUR AMOUNT FINANCED -
              “SALES TAX:                                                                         ee              CE
              DOCUMENTATION FEE FINANCED:                                                         _|           ee                         *9895,00
              INTERIM CHARGE (ptavides 45 or more days $ before next paymient date):                         _.                          $2,977.31
              FLORIDASTAMPTAX,                                                                             a
       OTHER FEES FINANCED:                            oe                   _          .               pee                  ne
     TOTAL FEESICHARGES FINANCED:                                                                       :                   |  $3,672.34 |
“| TOTAL AMOUNT FINANCED:                                                                              a                                                                     $291,372.31 |
    _MONTHLY         INVOICE
                          FEE           (walved
                                             oni for electr

                . ADVANCE PAYMENTS) oF

     TOTAL FEES, CHARGES, TAXES INON-FNANGED)
     TOTAL AMOUNT DUE AT SIGNING:        _~                                                                                 _                                                       $0.00




     INVOICE DUE DATE:                          L.                              18, 2020 | INVOICE AMOUNT: =
                                                                            Qotober                                             =                                              $6,014.30




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                        —       31) #226639
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{CMT-00324}               (Rav 04.20 04.20)                                                Page ols
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   5. NO-WARRANTIES: YOU ACKNOWLEDGE THAT WE ARE NOT THE                                      bénefit Us and those of Our assignees who have been assigned both this CFA              -
                                                                                              and auch athar debts, ilablitiesor obligations. .             te
                                                                                              8. Ordering Collateral, Dellvery and Acceptance: . if You entered into-any
                                                           , WE DO NOT MAKE AND.              purchase.
                                                                                                   or supply. contract with any: Dealer, manufacturer-or suppiler for the
                                                            [OR      REPRESENTATION           Collateral; You hareby.   assign to-Us all of Your rights:under such purchase or
                                                                                              supply contract). but:noneof Your abligatlons, except for the obligation to pay
                                                                                              for the Collateral if tis accepted by You according to the tarms of this CFA. The
                                                                                              occurrence of the Commencement Date (as defined below) shall be conclusive
                                                                                              evidence that You have inspected,      tested and.confirmed Your satisfaction with
 “PARTICULAR PURPOSE. WE SHALL NOT                       BE LIABLE FOR ANY LOSS,              the Collateral, accepted the Collateral on an "AS-IS, WHERE-IS AND WITH ALL
 ‘DAMAGE OR. EXPENSE OF ANY KIND: CAUSED DIRECTLY OR                                          FAULTS” basis for all purposes hereunder, and directed Us fo make payment for
 . INDIRECTLY ‘BY THE COLLATERAL
                               OR ITS USE, OPERATION, OR                                      Your acquisition of tha Collateral as-provided heyein.
 " POSSESSION, OR BY ANY DAMAGE WHATSOEVER AND HOWEVER                                        9, Borrower Representations and Warranttes: You represent and warrant
    CAUSED. IF THE COLLATERAL DOES NOT OPERATE AS REPRESENTED                                 to Us that. as of the. date on which Yau execute this. CFA and the
   ‘OR WARRANTED BY THE DEALER OR} MANUFACTURER, OR IS                                        Commencement
                                                                                                        Date: (}. You are 4 partnership, corporation; limited lability
    UNSATISFACTORY FOR ANY REASON, REGARDLESS OF GAUSE OR                                    company or other legal entity; the execution and delivery ofthis CFA and the
    CONSEQUENCE, YOUR ONLY REMEDY, IF ANY, SHALL 8E AGAINST THE                              performance of Your obligations hereunder and thereunder. have been duly.
   -DEALER OR MANUFACTURER OF THE COLLATERAL AND NOT AGAINST                                 authorized by all necassary action on Your part and afe.not In contravention of,
    US. NO DEFECT, DAMAGEOR UNFITNESS|OF THE COLLATERAL     FOR                              and will not result In a breach of, any of the terms of Your charter, by-laws,
   ANY PURPOSE SHALL RELIEVE YOUR. OBLIGATION TO MAKE                                        articlas. of Incorporationor other organizational documents or any Joan
    PAYMENTS OR RELIEVE YOU OF ANY OTHER OBLIGATION UNDER THIS.
    CFA, TO THEEXTENT PERMITTED BY THE MANUFACTURER OR DEALER
  AND PROVIDED-.NO DEFAULT HAS OCCURRED AND.1S CONTINUING
  HEREUNDER; WE ASSIGN ALL MANUFACTURER'S AND DEALER'S’
  WARRANTIES TO YOU.. No dafect or unfitness of tha Collateral, and.no failure
  on the part.of the manufacturer, Dealer or the shipper of the Collateral to deliver
  the Collateral or any:part thereofto You-shail raligve You of the-obligation to pay
  any instalment Payment or any: other-obligalionihereundar, We shall have no
  obligation in respect-of the Collateral and shall have no obligation to Install, test,
  adjust or service the Collateral. You shall only look to persons ather than Creditor       organizational documents, including a¢:to punctuation and capitalization, and
  such as the manufacturer, Oealer or carer thereof should any item-of Collateral:           Yaur jurisdiction of incarporation or formation, and principal placé of busiiess
  for any réagon and in any way be defective,                      =                         or. chief executive office are as set forth In the heading of this CFAi.(v) You are
  8. Lean! You agreé:te finance the Collateral fogather with all affixed parts,              duly organized, validly existing and In good standing under the laws of the state
  altachments and accessories, plifsuant to’ {he Payment Schedulé and’                        of Your incorporation or formation and are duty qualified and authorized to:
  ltemization of Purchase Price Seclions reflected above and subject to the terms.            transact: business in, and are jn good standing urider: the faws of, each other
  of this CFA.    You-have selected tha Cotaeral Dealer, and/or manufacturer:               ’ statein.
                                                                                                     in which.the Collateral Is: ‘will be.located.
                                                                                                                                                or otherwise necessary for the
  based upon Your own judgment and disclaimany retlance upon any statements                   conduct   of Your business; (yi) thera has been no‘change in Your name,or the
  of representations made by Us,         You'agres to indemnify and hold Us harmless          name under which You conduct business, within the.one (1) year preceding the.
  and to defend Us:agalnst any claim of ilabllity by Deaier, We may in Our sole              date hereof except as previously reported in wriling to Us; (vil} You have not
  discretion, accept a-photocopy, electronically transmitted facsimile, electronic           moved Your principal piace-of business. or chief executive office, or have not
  version or other reproduction ofthis CFA (a “Gounterpart") as the binding and              changed the jurisdiction of Your organization, within the one (1). year. preceding
  effactive record of this CFA whether or not an ink-signed copy hereof
                                                                     is also                 the date hereof: except as previously reported In writing to Us; (vill) all
  received by Us from You, provided, however, that if We accept a Counterpart.               information prov      by You'to.Us In connection  with this CFA Is trie and correct.
  as the binding and effective record hereof, tie Counterpart acknowledged in.               including the    financial-Information which You have-submittéd or will submit In
  writing by Us.shall constitute the record hereof. You represent fo Us that the:            cannection with this ‘CFA; (Ix) there.are no suits pending or threatened against
  signature that appears an the Counterpart that {s.transmitted‘by  You to Us in             You.or any Guarantorof Your. obligations (each, a “Guarantor’) which, if decided
  any manner described aboye is Intended by You to authenticate the Counterpart.             adversely, might materially adversely affect Your or such Guarantor's financial
  hotwithstanding that-such signature is electronic, facsimile, electronic version or        condition, tha value, ulillty or remaining usefut fife of the Collateral, the rights:
  a reproduction and You further agree that such Counterpart recaived by Us,                 intended to be afforded fo.Us.hereunder or under-any guarantee or Your ability:
  shall, when acknowledged In-writlng By Us, constitute      ati original document for       or any Guaranter’s: ability to perforny Its obligations under the CFA or any”
  the: purposes of. establishing the provisions {hereof and shall be fegally                 document deliveréd: in connection. herewith; and (x) none of You: or any
  admissible under the best evidence rule and binding on and enforceable against             Guarantor,     any of Your. or:any Guardintor’s subsidiaries nor any diractor-or-
  You. If We accept a Counterpart as the binding and effective record hereof only            officer of any of the foregoing Is an individual or entity thet ls owned or controfled
  such Counterpart acknowledged in wrilirig by Us shall be déemed an original                by parsons that ara Blocked Person(s), “Blocked Person” means any person or
  and t6 the extent that this CFA constitutes-chattel: paper, perfection of a security     - 8ntity  (A) that {8 now or at any time on a list.of Specially Designated Nallonals
  Interest by possession may ohly be accompilshed by possession of tha:                      issued by the Office of Foreign Assets Controlled (“OFAC”) of the United States
  Counterpart thal bears Our ink-signed or stamped acknowledgement: This CFA.                Department of the. Treasury      ‘or any sectoral sanctions identifications ilst; (B)
  may be executed in counterparts, each of Which when so executed shall be                   whose property or Interests In. properly. are blocked by OFAC or who Is subject
- deemed to be an orginal and ail of which when taker together shall constitute              to sanctions imposed:by law, Ircludlig any executive order of any branch or
  one and the same agreement,               ;     i                oo                        deparimentof the United States govamment; or (C).olherwise designated by
  7. Security Interest: You:-hereby grant to Us aifiret priority perfected security          the United States :or any regulator having Jurlsdiction or regulatory oversight:
  interest under the Uniform Commercial Code (‘UCC’) in the Collateral, whether              over Us or our financing:souree, to be a person with whom We.ar they are not-
  how owned or hereafter acquired, whather used 4         aguipment orinvantory, and         parmnitted to-extend credit'to or with regard to whom a buyer relationship may
  ail replacements thereof and all receivabies,: rebates, discounts, credits,                result in penalties against Us or Iimitatlons on a creditor's ability {o enforce a.
  payments, refunds, proceeds, all accounts, generat intangibles, contract rights,           transaction,       .            .
  insurance proceeds, instniments, procedds and products and chattel paper                   40, Payments.and Prepayment: The “Commencement Date’ of this CFA shall
  relating to the foregoing Collateral including, without Ifmitation, the rights to all      be the earler of: (I) the Contract Date set forh above on this CFA, or (ii) the
  payments relating to-or arsing out of thesale, fease, rental or other disposition          data We pay Dealer     for the Collateral, You agree as of the Commencement
 of thé foregoing, all books and records at-aliy linje. evidencing or related to the         Date, the Collateral is subjectto this CFA, The Interim Charge set forth above.
 foregoing andall software or other intellectual property used In connection with.           is an amount equal to 1/30"of the monthly Installment Payment (set forth
 the Collateral, Such security Interest Is granted to secure payment and                     above) multipliedby the number of days between the Commencement.
 performance by You of Your obligations hereunder. You further grant to Us a                 Date and the date ‘that Is one. month: prior to: the Involee Due-Date. You
 security {hterestIn the Collateral (separate and distinct from and subordinate.             acknowledge that the interest rate usad to compute the Interim Charge is higher
  only to thé security intarest granted to Us above) fo secura the payment and               than the implicit interest rate used to calculate
                                                                                                                                            the Installment Payments during
  performance of all now exiating or hereafter |arising debts, Mabiities and                 ihe Term, Al Installment Payments are due and payableIn arrearson or before.
_ obligations of Yours of every kind and character, whether direct, Indirect,                the Invoice Due Date (and on the same day of each subsequent month during
  absolute, contingent, primary, secondary, or otheiWise lo Us, whether under this           the Term), Your récelptaf an Invoice is not a condition of Your obligation te pay-
 CFA or any: other agreement, and whether due directly or acquired by                        Your Installment Payments or other charges when due, ff the Installment
 assignment,      transfer,   renewal,    extension,   réfinancing    or other   means       Payment includes a cost of Servica and/or maintenance; You acknowledge that
  (‘Ligbilities*), provided, however, that sich croas-collateralization shail only           such Inclusion Is for Your convenience. You will not assert against Us any claim,
                                                                                             defense, set-off or demand for compensation for any reason, including those

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                         - 281372.34)} #226639
  {CMT-00321) VEHIGLE-CFA (Rev 04.20)
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            ;                                             |                         ,      ;
which You might have under any service or maintenance contract relating to the                           subject.to
                                                                                                                 any co:Ingufance clause, You agree to provide Us with certificates              |.
Collateral, Creditor reserves the right to adjust the interest rate and Your                            or other eviderice of insurance acceptable to Us, bafora the Tamm begins, and
Installment Payment based upon any increase in either swap rate or Creditor’s                           annually: during the Term; and whenever thereIs a changein cairier or other
cost.of capital from tha time of approval until the:tme of funding, We reserve.                         change In the Insurance required hereby. If at any time: You fail to keep the ©
the right.to adjust Your installment Payment,.reflected above, by up to 10% to                           Colfateral properly insured in-accordance with Our requirements or fall to.deliver
rafiect chariges in the final Invoice of the Dealer
                                                  pr manufacturer, as applicable.                       to Us a Valid and‘acceptable certificate of insurance reflecting. such insurance:
                                                                                                        as belng in effect, it willbe deemedas a default herounder. Regardless of the
                                                                                                        existence of any applicable insurance, You agree to.indemnify and hold Us, Our
                                                                                                         employees and affillates. harmless from. all sulls, claims, demands, losses,
                                                                                                         damages, judgments, obligations, actions, sults and ail legal proceedings,.and
                                                                                                         any and:all.costs and expenses in connaction therewith, including, attomeys'
                                                                                                         fees.and liabilities arising out of, or in any manner connected with, or resulting:
                                                                                                         directly or indirectly from the Collateral, including, without limitation, the
                                                                                                         manufacture,’   purchase,    foan,   financing,   selection,   ownership,   delivery,
                                                                                                        rejection, non-delivery, ransportation, possession, use, storage, operation,
                                                                                                        condition, maintenance, repair, retum or other disposition of the Collateralor
                                                                                                        with this toan, Inciuding
                                                                                                                                without limitation, clalme for Injuryto or death of persons
                                                                                                         and for damage to property, whether. arising under the doctrine of strict llabilily,
                                                                                                         by operation of law or otherwise, and to'give Creditor prompt -nolice of any such
                                                                                                         Glalm of ilabillly. If You:fall to keep the Collateral property. insured, then, in
                                                                                                         additionto the other remedies avaliable hereunder, We have the right, but not
                                                                                                        the obligation, to obtain such: Insurance for the Termat Your expense and.if so
                                                                                                        obtained; We will addto Your Installment Payments die hereunder and You wiil
                                                                                                        pay to Us Our costsof obtaining such insurance and any customary fees or
                                                                                                        charges of Ours or Our designees asgoclated with such insurance, Yau algo.
                                                                                                        agree to-pay an.administrative fee equal to 40% of Your Instaliment Payment.
                                                                                                        for each 30-day period. during the Term the Collateralis uninsured or remains
                                                                                                        impioperly Insured.    You understand that this fee-will not be utilized to obtain
                                                                                                         insurance-on Your behalfand-any Insurance We purchase as permitted hereby
                                                                                                        will benefit Us and not You and may ‘be more expensive than Insurance you
                                                                                                        could purchase by compliance.  with the tens hereof: Nothing in this GFA nor
                                                                                                        Our actions      hereunder, including. without      Iimitatlon Our   assessment     of
                                                                                                        administrative fees or other amounts pemitied hereby, shall mean that We are
                                                                                                        selling insurance or providing ingurance.coverage, The fees and other amounts
                                                                                                         payable hereunderdo not necessarily reflect actual costs or exposures and may
                                                                                                         result In additional-profit to-Us. You may, upon not less than:thirty (30) days
                                                                                                        express: writtery nollea fo Us and delivery to Us. of satisfactory insurance
                                                                                                        certificates or other satisfactory evidence of insurance complying with the tanns
                                                                                                        of this CFA, terminateany insurance or related charges pursuant fo this Section.
                                                                                                        your obligations Under this Section shall survive terminalton or expiration of this
location without Our priorJ wrillen consent,       Borrower shall not part with                         CFA,         .                 .
possession or: control. of ihe- Collateral or euffer or allow to pase out of Is                         14, Taxes and Fees:.
possession or control any item of Collateral.
   Collateral Locatlon {if different enter below):
 _746 GENESEE DR, NAPERVILLE IL. 80583


12: Maintenance, installation: You ara responeible for any installation costs
and You-agree to keep the Coflateral, at Your cost, in good repalr and working
order and pay ail coats rélaling 16 the use and operation of the Collateral, Except
for upgrades that do not reduce the value or marketability of the Collateral and
as required to comply. with this Section, You stall
                                                not make any alterations;
additions or improvements to the Collateral without Our prior written consent,
except that You shail make: all modifications and Improvements thereto: in
accordance with any manufacturer's specificalion’.end as otherwise required by
law. All additions and Improvements'made
                                     to the Collateral shall Immediately’                           —
become the property of: Creditor and be deemed                    part of the Collateral for. all
purposes and shall not: be removed. if removaliwould impair the Colfateral’s
economic value or functional utility.                Any modificallons shall be made In
accordance with the recommendations and standards set by the manufacturer of
the parts or devices Included in such. modification,                     You shall be solely
responsible for, and. shall indemnify, defend and’ hold Us harmless: from and                           payable hereunder.
                                                                                                                    do not necessarily reflect actual costs or exposures and may
against, any and.all claims resulting from the. breach of this Section,                                  result in additional profit to Us.
13, Insurance; Indemnification: You agree atall times, at-your own expense,                             48, Default:and Remedies: Each of the following, dnd any other eventsor
to: (i) Insure the Collateral against loss, theft or damage from every cause                             elrcumstances herein provided to-be 4 Default, is a “Default” under this CFA; (1)
whatsoever In an amount not less than ino Tot Amount Financed reflacted                                  failure to pay when due any amount  due under this CFA or any ather amount due
above and on such terms as specified in Our Insurance Request Form, ({l)                                 and owing by You.to Creditor, (ji) Your breach or falture to perform any other
maintain comprehensive general liability collisidn insurance Insuring against                            covenants and promises under this CFA or any other agreement entered into by
Hlablilty for property damage, death and:bodlly injury resulting from Collateral,                        You with: Creditor; (Ii) tha death of any individual Borrower, or partner of
a8 specified In our Insurance Request Form, (ili): name Us and/or Our assigns                            Borrower if Borrower jaa partnership, or any GUarantor; (iv) Your fallure to pay
on tha forgoing policy(les)a6 sole Loss Payee: arid (Iv) maintain such coverage.                         indebtedness when due to othar lenders; (v) any attemptby You to sell, rent or
froman insurance cartieror carriers acceptable to Us. All polices shail contain                          lease the Collateral or any Intarest therein to anyone other than Us or a Co-
clauses naming Us and.Qur assignees “Loss Payee” and requiring the Insurer                               Borrower named herein (and any such attempt shail be. void); (vj) allowing
to furnish Us with at feast thirty (30).days prior                 written notice of any material        anyone other than You to operate the Collateral; (vii) You or any Guarantor
change, cancellation, or non-renewal of coverege and stating that coverage                               makes an assignment    for the benefit of craditors, or becomes Insolvent; (vill) You
shall not ba invalidated against Us or Our‘assigns because of any violation of                           of any Guarantor threatens to gease or ceases to do businéss as a going
any ‘condition or warranty containedJn any policy or application therefor by                             concem, seeks any-arrangement or. compromise with creditors, dissolves, or
Borrower or by reason of any actionor Inactlon of Borrower. You agrée to inform                          takes any actions regarding the cessation or winding up of Your business affairs
Us Immediately in writing of any nolices from, or other communicatians     with,                         orthe business affairs of any Guarantor, (ix) any representationor warranty made
any insurers that mayIn any way adversely affect the fnsuranve policies 'being                           by You herein or In any document of certificate furnished by You to Us either
maintained pursuant hereto or of any Insurance claims. No insurance shail be
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{CMT-00321) VEHICLE-GFA (Rav 04,20)                           |
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 directly or indirectly is incorrect in any material respectat any time; (x} You or any                                       appoint Us or any parson or entity named by US at the time such selzure is, -
 Guarantor files for bankrupteyor enters Into any:teorganization proceeding; (xi)                                             requested,or at ary lime thereafter, as keeper of the Louisiana Collateral    as. *
 any proceeding in bankruptcy, receivership, liquidation or ‘insolvency Is                                                    provided under.La.R.S; §9:5136,.ef seg. You agree to pay the reasonable fees
 cominenced against You   or Your property or any Guarantor of their property; (xii)                                          and exp:
                                                                                                                                    Ox     28 of such keeper, which compensation to the keeper shall also be
                                                                                                                              @ part of the secured Liabilities under this CFA,
                                                                                                                               17, Late Charge: if You fail to pay-any sum.due under this CFA within five (5)
                                                                                                                              days afteriis:due date:(Late Payment’), You agree te pay Us‘a late charge (as
                                                                                                                               reasonable {iquidated.damages and not.as a penalty)equal to, ‘the greater of
                                                                                                                               $50.00: or 40% of the. Late-Payment not to exceed the maximum amount
                                                                                                                              permitted by applicable lai      ‘Late Charge"), ‘If any check or funds transfer
                                                                                                                               request for any: payment Is retuined to Us‘unpald, You shall pay Us a service
                                                                                                                               charge of $55 for aach stich returried check or request             ;     ;




 satisfaction of Your obligations heraun
 In any manner We choose, free and clearof any of ‘Your claims or rights, without
 notic:        to i e   tent      ited
                                   eo byOY taw, -             yr        red =‘suc!
  requireme         S               me        NoOUCe 3S       en   at       jen                5      8     {he   sale-
 or           digposition:         (e) sue.to enforce Your performance hereof; (f) recover
 interest on: the unpald balance of Creditor’s. boss plus any other amounts                                                   regular business hours to inspect the: Collateral and for that purpose to have
 recoverable hereunder from the date it:becomes payable until fully pald at the                                               acces     to the focation: of the Collateral without any claims for traspass or
 rate of the lesser of 12% per annum or-the highest rate permittedby law; and/or                                               lamdges.            ae           .       .     _     ;      ;
 (g) pursue any right or remedy available toe Us:at Jaw, or in equity, including-any                                          19. Risk-of Loss. ‘You hereby assume and shall-bear.the-entire.
                                                                                                                                                                                      tisk ‘of loss,
 rights or remedies under the UCC. The “Accelefated Balance” will be equal to                                                 theft, datnage and desinictlon.of the Collateral from. any cause whatsoever
 the total of {x) ail accrued and unpald amounts. then due and owing hereunder,                                               commencing upon the:earler of the delivery af the Collateral:to. You.orlhe date
 and (y) the sum of the remaining installment. Payments sctieduled {obe pald.                                                 We advance ‘any.        portion of the Amount Financed hereunder
                                                                                                                                                                                            and no.togs, thef,
 hereunder discounted by the rate of 1.6% per annum, and (z)-any fecovery by:                                                 damage or destruction       of te-Collateraf shall rellave You of the obligation to. make
 Us in excess of unamortized Total Amount Financed (as' defined above)                                                        scheduled fnstallment Payments or any other obligation under this CFA, and this
 constituting make-whole premium; compensation for loss of bargain and                                                        CFA shall remain In full force and effect. except as provided. herein. You shail
 unamoitizéd’ averhiead and’clésing costs and other compensation   and not a                                                  notify Us In writing. within: five:(5) days of any item of Collateral becoming lost,
 penalty as You expressly agree. :In addition, Youagree
                                                      to. pay Our reasonable,                                                 stolen or damaged                [the clroumstances and extent of such damage: if




                                                                                                                                                                co
 attomeys’       feas        and     actual     costs. including rapossession,                     refurbishing    the        damage of.any.kind          oc urs to-any item of Collateral, You, at Our option, shall at
 Collaleral and collection coats, and all non-sufficient
                                                     funds charges and similar                                                Your expense
                                                                                                                                         (a) place the item in. good repair, conditton or working order, or {b)
 charges, and You shall deliver the: Collateral‘ (at Your expensa) to @.tocation-                                             if the Collateral cary         @ repaired or is lost, stolen, destroyed, rendered
 designated by Us, Each remedy shall be cumulative and In addition to any other                                               permanently unfit for          for any: reason, or In the, avent of condemnation or
 remedy referred to. above or otherwise -available-to Us at law.or equity, No                                                 selzure.of an item of Collateral, pay.to Us an amount equal to the sum of the
~ express or implied walver of any default shall constitute a-walverof any of Our                                             following:(1) all amounts payable by You hereunder due but unpald as of such
 othertights, Our election to exercise:
                                     any remedy. available hereunder, at law or                                               date plus (2) the. amount. of all remaining unpald: Installment Payments.
 in equity; shail not prevent Us from exercising:any other available remedy,                                                  hereunder nat yet        as of:such date, diacounted from the raspeclive dates
 whether concurrently or-at
                        a later-time, Upon, default and at any time thereafter, -                                                                       at the Discount Rate as defined betow, “Discount Rate”
  at Our election, We can.accelerate, In accordance with actual faw, the entire                                                                           rth for the United:-States Treasury: Bond or Note having.
  unpald balance due hereunder and require that You pay, as reasonable                                                                                        ot longer'than} the original termof this loan; as set forth
  liquidated damages’ for toss of bargain, ‘the 7Accelerated Balance.” The                                                                                  val two'(2) business days prior to the Commencement
  Accelerated Balanced will be equal to the total:of (I) ali accrued and unpaid                                               ‘Date, (li) the-rate s ot forth for the Unitad States Treasury Bond or Note having
- amountsthen due and. owing hereunder, and (i) {he-sum of the remaining                                                       the closest tern :to. (but-not fonger.than) the remaining term of ihis CFA, as‘sat
 Payments schedulad to be paid hereunder discounted by 1 “percent, and will                                                    forth in the Wall Street: Joufnal two (2) business days ‘prior to the date of
 be Immediately due and payable, without protest, presentinent demandor                                                        calculation of this amount, or (Hl)}:1.5%, whichever is lowest. Ha rate referred'to
 nollce {including but not Itmited to notice of intent to accelerate and notice of                                            in the preceding clauses “(i)” a “(li)” Is not published in.the Wall Streat Joumal,
 acceleration), all of which You waive, We can algo pursue. any-of the remedies:                                              such rate shall bétaken:from.a_ reputable source selectedby Us,
 available to Us under the. UCC or any-olfier law. i|n addition,
                                                               You agrea to.pay:                                              20, Borrower's Goverants,      You shall-not sell, transferor assign any material
 Our      reasonable attorneys'                 feas      and’aclual              costs incliding    repossession,            portion of Your as:        liow. a. controling Interest In Borrower to be soid,
 refurbishing the, Collateral and collection costs and ail noi-sufficlent funds                                               transferted or assign            y person(s) or entity(ies).ather
                                                                                                                                                                                            than those who hold
 charges and similar charges, and You shall deliver the Collateral {at Your                                                   a controlling interesta8 of the date hereof, whether by merger, safe or otherwise;
 expense) to a location designated by Us, .       i          .                                                                ailaw a-Blocked Person te have an ownership Interest In or control of Borrower,
 Loulslana: Default Remedies under Chapter'9 of Loulsiana Law. This                                                           enter into any marger or reorganization In which You are riot the surviving entity;
 subsection shall apply. to ahy of -the- Collateral (including any Collateral                                                 or-unless.  You shall have given Us not legs than thirty (30) days’ prior wrilten
 proceeds) that, at any time, Is.or may be located:in the State’of Loulsiana, or                                              notice charige (i) Your name of, business. address from that sat forth above, and,
 otherwise be subject tothe applicationof Louldiana law In any respect (the.                                                  #-an individual,  Your state of residence, (li) the state under whose laws You are
 *Loulglana Collateral"). Upon the occurranca of any evant of default, We shall                                               organized as.of the date hereof,or ({li} the type of organization under which You
 have the following dghts and remedies with respect to the Louisiana Collateral,                                              exist as:oftha:date-hereof.                                     oo,
 which rights and remedies are In addiion to, and'not In lleu or.limiation of, any                                            (8) Authorized Signer Covenant, The slgner(s)-who execute this CFA and any
                       ‘that may be avaitabie|fo Us under this CFA, under
 other sighis and remedies                                                                                                    other ancillary documents are didy authorized by Borrower and should any
 Chapter 9 of the Loulsiana Commercial Laws, under the laws in effect in any                                                  sigher(s):later be found to be-unable to bind Borrower, sald signer(s) shall be
 state other than Loulaiand, drat law-or equity generally.                      ;                                             personally lable for any obligations Incurred under the CFA and any ancillary
 For purposes of foreclosure under Loulsiana executory process procedures,                                                    documents, in additionto the lability of the Borrower.
 You confess judgment and acknowledge to be indabted unto and In favorof Us                                                   (C)} Co-Borrower Covenants, if there is more.than one Borrower executing this
 up to the full amount of Your LJabilltles plus Interest, costs, expenses, attormay's                                          CFA, each-undersigned Borrower shalt be.designated as Borrower hereunder
 fees, and other fees and charges. To the extent permitted under applicable                                                   andall documents executed.In connaction herewith, Each Borrower agrees: {i}
 Loulsiana taw, You additionally waive (a) the benefit-of appraisal as provided                                               all obligations shallbe joint and several ‘and.each Borrower shail be individually
 in Articles 2332, 2336, 2723.and 2724 of tha Louisiana Code of Civil Procedure                                               responsible for fulfilling
                                                                                                                                                       all obligations of Borrower hereunder, (il) any Default by
 and all other laws wilh regard to apprdisal upon judictal sate; (b) any right to                                             any Borrower shall: be a Default. by each other Borrower; (lil) the mutual
 receive demand for payment from: the court pi                                          the court issuing a wrlt of           understating reached by each Borrower In this ragard is corisidaration for each
 selzure and sale; (¢) the notice of seizures as provided under Articles 2293 and                                             Borrower's execution hereto; (iv) each Borrower will racelve the benefit.of the
 2724 of the Loulsiana, Code of Civil Procedure; and (@) ‘alt other benefits                                                   financing made hereunder and           We would not otherwise enter Into ar provide
  provided under Articles 2331, 2722 and 2723 of the Louisiana Code of Civil                                                 "financing under any Agreement without each Borrower's execution; and{v) We
                                                                                                                               shall ba: entitled to pursue:ail rights and remedies hereunder against each
  Procedure and all other Articles pot specifically mentioned above.                                                     :
                                                                                                                               Borrower upon any -Defaullby any Borrower. All representations, covenants,
 Should any of the Loulslana Collateral be seized as an Incident to an action,                                                 agreements:
                                                                                                                                         and obligations Imposed on each Borrower shall be binding on
                                                                    by Us,
  You agree that the court tssuing any Such order shail, if requested

 205707 \ 106640 {002/20 - 201372.31) #228899                           .          ft
  {CMT-00324) VEHICLE-CFA (Riv 04.20)                                              |
                                                                                                                     Page 4 of 6.
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  each other Borrower and the act'of any Borrower shall bind all other Borrowers             or any attachments hereto are a complete and éxclusive statement of this CF,
  and We shall be authorized fo rely, without investigation, on the authority of any         Notwithstanding the-foregoing, to the extent there are errors or omissions in the.
  Borrower to give any notice, grant any consent and Our notice.to one Borrower              information contained in.this CFA and/or any attachment to this CFA, We may by
   shall suffice.as.notice to all Borrowers, Each Borrower's obligations. shall not be       written natica.to You‘correct such ezrors or omissions, You agree that this CFA.
   affected by any action taken or not taken by too any other Borrower,                      will be binding upon. Your successors and assigns, You agree that Our waiverof
   Guaranter(s) of the Collateral for anyraason: Ntiatsoever, Including: (I) any:            any provision hereunder        must be in writing and-shall-not constitute a waiver of.
   action by. any Borrower, (li) any. exercise or non-exerciseof any. right or remedy        any other matter. Anychanges to:the terms and condilions of this CFA must be.
        ast any Borrower, (iil) any voluntaryar Involuntary banknuptcy, insolvency,         _In-writing and agreed.to and signed by Us. tt fs the express intent of tha:partles
 “Yeorganization or similar procesding     by any othek Barrewer.                            nat to violate-any. appilcable usury laws or to exceed'the maximum amount of
 “24,--Consent to Jurisdiction and Venus: You hereby consent to the                          interest permittad tobe charged or collected by applicable faw, and any such
 {urisdiction of any focal, state,or federal court located within the State of               excess payment willbe applied to.the payments In inverse order of maturity, and
  ‘Nilnols. and’ waive any objection based_on Improper venue or forum.non                    any-remalning excess -will-ba tefunded
                                                                                                                                to You. You authorize Us fo contact You
 _ sonventensto the conduct of.any actlon.or proceeding in any stich court,                  Via Your home.or business telephone number, e-mail, cell phone or fax number.
  You further walve formal sarvice of process and consent that all service,                  You authorize’ Us, at our discretion, to install, at Your expense, a tracking device
  of process. may be made by mail or messanger directed. to You at the                       in the Collateral 80 that wa. may monitor tha Colleteral  and in the event of default
  address above and that service so mada shall be deomed to be completed                     focated.and secure the Collateral. Any provistonor clause hereof or any rernedy
  upon the éarller of actual recelpt, or three (3) days after service af process             herein provided found to.be invalid or unenforceable in any jurisdictian under any
  addressed to You fo at Your address set forth above |s deposited In the.                   applicable law ‘shall be inapplicable to the extent of such unenforceability or
  matt or one (1) day. after service of process Iz deliveredto a messenger or                invalidity, but the remaining provisions hereof stall be given effact in-accordance
  overnight courier service for delivery to You! You acknowledge
                                                              that you                       with the menifest intent hereof, and any stich Invalidity or unenforceability in any
  have an option to consult with counsel of your choice regarding this CFA.                  jurisdiction shall notsender unenforceable or Invalid such provision in any other
  and that It shalf not be construed ‘against: elther of us by reason of                     jurisdiction.    You will promptly. execute and deilver to Us such further
  draftsmanship.              ;                                           a                  documents, fake’ such further action and: provide such Information as We may
  22, GOVERNING LAW: THE AGREEMENT SHALL BE CONSTRUED IN ALL                                 requestin order lo. cary out more effectively the Intentand purpose of this CFA,
  RESPECTS IN ACCORDANCE WITH, AND.GOVERNED BY THE INTERNAL                                  and/or comply with laws orregulations applicable to Us, You, and/or the
  LAWS {AS OPPOSED
                 TO. THE CONFLICTS OF. LAW PROVISIONS)-OF THE,                               transaction evidenced by:this. CFA, including information ldentifying the owners
  STATE OF ILLINOIS, EXCEPT THAT QUESTIONSAS TO PERFECTION OF                                of Borrower.   and Its affill   nid their respective ownership Interests. At-any
  OUR SECURITY. INTEREST AND THE EFFECT OF PERFECTIONOR NON:                                 time, We-and any. assignee of Ours is authorized to fila. one or more UCG
  PERFECTION SHALL                BE. GOVERNED.BY THE    LAW WHICH ‘WOULD          BE:       financing statements without Your:signature,
  APPLICABLE EXCEPT FOR THIS SECTION.                                 .                      27. ‘Irrevocable Limited -Power of Attomey: You heraby itrevocably appoint
  23, JURY WAIVER: TO THE EXTENT PERMITTED BY APPLICABLE LAW,                                Us and/or Our succassors:     and assigns’ your true and lawful Attornéy-tn-Fact
  THE PARTIES HERETO EACH WAIVE ANY RIGHT TOA TRIAL BY JURY ON                               coupled with an interest with full authorityand power to.do and perform all and
  ANY CLAIM, DEMAND, ACTION, CAUSE. OF ACTICN.OR COUNTERCLAIM                                every act and.thing whatsoever requisita and necessary lo be done, as fully, to
  ARISING UNDER'OR IN ANY WAY RELATED TQ THIS AGREEMENT,                                     ail intents andpurposes as You might or could do if personally present, with full
  24, Limitation of Remedies and Damages: You.agrea that in the event there.                 power of substitution and revocation, to complete, sign, execute, any Instrument
 Is any dispute relating to os arising in connection with the CFA, You shall not be.         relatedto a loss séttiemient, any Insurance check-or aulhorize the application of
  entitled to inditect, special, punitive or consequential damages in connection             warranty or Ingurance: proceeds, file and deliver any title, Collateral registration
  with any action.arlsing under or in-any way related tothis CFA,                            or certificate of ownership, racording of flens, fixture filings, UCC financing
  25, Notlces;. The parties to this CFA agree that any notices shallbe in-writing            statement(s);-and to sell, record Interest, transfer or otherwise dispose:of the
and delivered personally:or by U.S, mall, certified mall or overnight mail of by a           Collateral, whether In butk or in parcel, whether or not the Callateral is presentat
  nationafly-recognized courfer services to Borrower's address ag set forth above            such sale and‘with or without notice, ai-public or private sale, We and/or Our
  and to Creditor’s address as set forth below the signature IInes of this-CFA, or           successors or assigAs.may apply the proceads from any such sale or other
  at such other address designated by elther party in writing,             a                 disposition against any and alf of Your obligationsto Us and/or Our assigns. if
  28, Miscellaneous: You hereby acknowledge
                                       that You and any Guarantor have                       Your signatureon any        financing statement is required by law, You shall execute
  authorized the Dealer, Us, Our subsidiaries of affiliated companies, funding               such ‘supplemental “instruments ‘and financing statements: We deem to be
  ‘sources and: Our successors, agsigns and designees to-investigate:and share               necessary   and advisable dnd-shall otherwise cooperate to defend Our Interest in
  Your craditworthiness and credit:capacity in connection with the establishment,            the Collateral by filing or otherwise. You also agree to pay Us.on demand filing,
  maintenance and collection of Your ‘account| and to furnish information                    registration and releaeing    foes prescribed by the LCG or other law, Further, to
  conceming Your account, Including insurance information to-credit reporiing.              ‘the extent warranty‘or insurance prem{um(s) is/are financed hereunde?, andin
  agencles,Our assignees and others who may lawfully recelve such Information..              the event of a default-under      this CFA, You irrevocably appointUs as Attorney-
  You. agree, within forty-five (45) days after the endof each fiscal quaitar ottier         in-Fact, with full authority:to (a):cancel any warranty or insurance policy(ies} in
  than the final-fiscal quarter of each fiscal year, (o deliver to Us a balance. sheet       accordance with thie provistons.hérein, (b) receive all refunds, rebates or sums
  and statement of income at thé end of such quarter, each setting forth in                  dus under sald warranty or Insurance policy(les) and {c) execute and defiver on’
  comparative form the corresponding figuras: for. the comparable period in the              Your ‘behalf all documents,     forms and notices. relating to the warranty or            .
  preceding fiscal year and, within one hundred:and twenty (120) days after the              Insurance pollty(ies)hereundern       ©                        ;
  end of each fiscal year, to deliver to Us a balance:shest as at the end of. such           28, Eleatrante Payment: By completing the information below, You hereby
  year and stateméntsof income and cash flows for such year, with accompanying               authorize and request Us to Initiate scheduled or periodic electronic fund transfer
  notes fo financial statements, each setting forth In comparative form the                  debits (and cradit entries-and adjustments for any debit antrles In error) or affect
  corresponding figures for the preceding: year,’ in each case prepared in                   a chatga by’ any ottier commercially accepted practice to.tha account Indicated
  accordance with generally accepted accountiig principles and practices.                    belowin the financial institution named below. You hereby authorize and request
  consistently applled and certified by Your chief financial officer as falrly               sald financial ‘institutlon to honor the debit and/or credit entries Initiated by Us.
  presenting Your financial position and results of operations, and, in tha caseof           This authorization is for Installment Payments and any open charges or fees,
  year-end. financlat ‘statements, : certified by-an Independent. accounting firm            including:  but: not limited to-late charges, non-sufficient funds (NSF) charges,
  acceptable to Us; and with reasonable promptnegs, fumish Us wilh such other                insurance charges, or any. charges of fees related to tile or taxes due and
  information, financial or otherwise, relatingto Youor the Collateral as We shall           outstanding-under this CFA;. This authority1s to remain in force until such time
  reasonably request. Youagree thatno course.of dealing or delay or failure to               as all. amounts due are paid In full or until We and financial institution have
  enforce Our rights under this CFA shall prevent:Us from enforcing any of Our               received written notification from You terminaling this authorization in such time
  tights hereunder or under any addendums, if You fail to make any payment or                and manner ag to-afford Us and financial institution a reasoneble opportunity to
  take any action as and when required by law or by this CFA; We may do so In                act on.it.. Youragree that Your bank account Information may be disclosed and
  Your or Ourname, without waiving any default, dnd You will reimburse Us on                 authorize assignment pursuant to Sectlon.18 herein.
  demand, together with Interest at the lower of 18% or ‘the highest amount
  permitted by law. You agree that the terms and condllions reflected in this CFA




  206707 \ 108640 (00/02/20 ~ 29137234} #228638
  {CMT-00321) VEHIGLE-CFA (Rav 04,20}
                                                                                     Page 5 of 6
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 -| ams oF Account Holir:                          ia,                                 La              See ”                          oo             '
    -Bank Name and Branch: _                                                                 ;         Account Number!
        Addrass (city
                  & state):               Wee
                                          ,                             Dido \8                                  ee
  Lietephone Number                                                                                   | Re ung Number:
          Cl              1 ami a current customer of Creditor. and hava bank information currently on‘file, By checking the. hax, You hereby ‘authorize and
                          request Creditor to utilize: Your bank information on file fo process Your payment electronically pursuant. to Séction 28 above. :

29.. ELECTRONIC. SIGNATURE: Creditor and Borrower may cect tooexectite this CFA Via. electronte
                                                                                             ie slgatr, if this: CFA is axecuted via electronic ‘signature, You
                                                                                                                                                             You
                agre    that                                 CFA wh                                         Ou    8                       plicable       ew.

            :                                        .            "Pa      ~'   Bi                                                                                              .

       onstitute the sole authorilative:versian, You alsa agree. hat by typing Your. name in the boxes indicated below Or. any: -otheroa method of affixing Your
signature, elther in Your Individual capacity or as an authorized representative of the Borrower, ‘You:are confi   ing. that You are tha person so. indicated In the box
below, and that You are providing Your electronic signature.dn this CFA. Your electronic algnataré shall evidence Your agraementito be bound by aiid authenticate
this electronic record‘and attest to the statements contained inthis CFA wilh the-same effect as if You'had        nally signed this CFA;. This CFA and ‘any related
electronic. documents are electronic.records thatmay de transferred, authenticated, stored and ‘transmitted:by electronic means, You agree fo keep any security
code or password sacired and Will not inappropriately. disclose this information to others, You also continn that all 'docurrientation related te this fransaction delivered.
or executed using Your email address, login, security code and/or password are true aid cojrect.

YOU ACKNOWLEDGE. THAT you. HAVE READ AND: ACCEPT: THE TERMS OF THIS’ 7 REEMENT, AMENDMENT, EXHIBIT, RIDER, AND SCHEDULE,
FURTHER, YOU ACKNOWLEDGE THAT YOU HAVE RECEIVED.AND ACCEPTED THE C       TERAL, REQUEST THAT WE ACCEPT THIS AGREEMENT AND
PAY THE DEALER FOR INVOICE(S) RELATED: TO THE ABOVE-REFERENCED COLLATERAL. THIS AGREEMENT SHALL NOT BE A VALID CONTRACT
UNTIL ACCEPTED BY CREDITOR. BORROWER(S) HEREBY WAIVES NOTICE BY CREDIT OR OF ITS. ACCEPTANCE OF THIS AGREEMENT,

" BORROWER:                     INLAND TRANSPORTAT ON LTD.
                                                   i



   Name:                        ULUGBEK
                                   F KUCHKAROV
   Title:                       Wena




 AGREED TO AND ACCEPTED:                                     |
                       CO, ("CREDITOR") -
_ENGS COMMERCIAL FINANCE
                                                                                                            , ‘address: for Notice:
                                                         "                                                       PO. Box 128
  By:                                         FOS            —                                                   ‘{tasea, [L 60143-0128
  Print Name:            Rcesesestuals               .                                            ;                        7
 Title:                     SR. VICE-PRESIDENT - “OPERATIONS
                         Vice President - Operations:                                (08)°




“905707 \ 106840 (09/02/20~ 294372.34) #228639
 {GNT-00324) VEHICLE-CFA{R ey 04.20 )                                                        Page 6 of 6
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                                                           |
                                                               CERTIFIED RESOLUTION OF BUSINESS ENTITY
              The: undersigned: nineteen                                 signer of INLAND TRANSPORTATION. LTD. (Biisiness Entity") dods hereby cartlfy that
> fhe. following is-a (rue and correct copy:of Heine duly adopted by the governing body of the Business Entity and that said resolutions are now In full
* force and effect.

        RESOLVED. that any one of the officers, general partners, members, managers or agents (hereinafter individually referred. to'as an
        “Authorized Person and ee                      Eng as the, “Authorized Persons’) listed below is euihorieed.s to take the following actions in the name of




        thereof,
              it)       To sign and delet all leases, finance agreements:and related .documents; Incuding: ‘any notes or other avidences of
        indebtedness, as.may.be requested by the Lessor/Creditor from time to time,
              ili)     ‘To pledge as. colfateral. security for tha performance of the obligations. of the. Business Entity to the Lessor/Creditor, such
        assets of the Business Entity as my be required and agreed-upon between the Authorized Person and the Lessor/Creditor.

        RESOLVED. FURTHER that each. ‘one of the Authorized Parsons listed below is conferred with. '@a general authority to deal on behalf of
        and In the name of the Business. Entity with the Lessor/Craditer.                                                             ;

        RESOLVED FURTHER that this rdclution shall continue In force until notice In writing of its: revocation shall be given to-and received
        bythe Lessor/Creditor at P.O. Box!428, ltasca, 1L 60143-0128 by certifiad:mall, return fecalpt requested and notwithstanding the giving
        of'such notice, this resolution shall be effective as to alt agreements entered: into prior to Lessor/Creditor’s recelpt of such notice.

        RESOLVED FURTHER that the secretary/authorized recorder of the Business Entity be and heraby is authorized to fumish this certificate
        of authority to the Lessor/Creditor and that a copy of this certificate shall be conclusive evidence of the authority of the Authorized Persons
        te'deal with the Lessor/Greditor on behalf of the Business Entity.

        The undersigned further certifies that the following are the true and correct signatures and designations of. the Authorized Person(s)
        referrad to below:    oo




          ULUGBEKFKUCHKAROV                                                        PRESIDENT




  Type of Business Entity: IL ~ Corporation
  Date; September 2, 2020




       Print Title:                SECRETARY.
       Authortz                :          ation - Seccotary, Limited Lablity Company - att Member(s}, General Patnarship ~ail
                  ed Signer:       Para ate: or'as diclated by ~ officelowner(s) authorized to ¢onfien signer authority)




  205707 1108840 (09/02/20 - 291372 31)
  {CMT-00199) Cert, Resolution~ Sign Authority
                                          (Rev 02-17)
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    EXHIBIT 4
                  Case: 1:25-cv-02008 Document #: 1 Filed: 02/26/25 Page 29 of 32 PageID #:29




                                                                                     PERSONAL GUARANTY.
                                                                                              Contract # 106640           ‘
   ‘In consideration of ENGS COMMERCIAL FINANGE CO., (‘aferrad to as. *Greditor/Lessor’); Its successors and:assigns, providing any present             or fulure finactg   of any nature
  ‘to INLAND. TRANSPORTATION LTD. (referred l6 as "Borrower/Lessee’), the party{les), entity(les) or individual(s) executing thls Guarantyy (‘Suaranto(s)), peek of severally
__ if more than. ona, absolutely, unconditionally - and lmavocably guarantee to Credltor/Lessqr, the. payment and performance of any and all debt, lability and. obligation. of
. Borrowar/L.essae lo Creditor/Lessor {the “Obligaligns’), from time to. time entered into, . Including but not iimited to-Borrower/Lessea’s Obligations under any working capital —
    promissory note and security agreement, promissory note, security agreainent,                   Jat finan  agreement, commercial tease agreement, and any rider, amendment,
    addendum thereto and all other agreements: (collectively, *“Contracis") from time lo ume entered, lato between Creditor/Lessor and Borrower/Lessee. Craditor/Lesaor may at its:
    option, proceed at once and directly, without notice, agatnst Guarantor(s) to collect and resover the full ‘amount: guaranteed. or.any partion. of that amount, without proceeding
    agalnat Bonewer/Lesseé-or any other person or éniity, or exerclaing any oltier remedy available to: ‘Graditor/Lessar. Guarantor(s) waives all defenses and notices, including
    those of acceptance hateof by Creditor/Lagsor and of the creation and existence of Obligations; protest, presentmerit:and demand; and any and all defénses otherwise available:
   ‘to a guarantor, surety or accommodation ‘party, Guarantor(a} agrees that Credifor/Lessor may amend; renew, extend. or otherwise modify, any: Obligations without-affecting or
    fmpaiting in any way the llebility of Guarantor(s) hareundar. ‘if any one or more BoroweriLessee(s) Is. a corporation, imited Hlabliity company of parinership, it ls not necessary”
    for Creditor/Lesaor to inquire into tha powers. of Horrower/i.assee or the officers,. directors, partners, members of agents-actlig or. purporting to act on thelr behalf, and any:
    Indebtedness made or created in rollance upon the professed exercise of such powers shall be guarantéed. ‘and’ be an. Obligation hereunder, Guardntdr(s) will pay fo
    Creditor/Lessor all expenses ‘(Including attorneys’ faces) incusréd by. Creditor/Lessor in enforcing CroditorfLessor’s rights ‘againet Borrower/Lessée(s) and Guarantor(s). This
    Guaranty will not be. discharged or affactad’ by the death; dissolution, termination, bankruptey or Insolvency of Borrawer/Lessea, and will bind Guarantor(a) hélrs, personal
   representatives, successors and assigns. Guarantors) autharizes CreditavLessor or any of Craditor/Lessor’s designees td obtain, and share with olfers, credit bureau reports
    regarding Guarantor(s)'s persorial cradit, and make other cradit Inquirles that Greditor/Lasgor determiiies are na sary. Guarantor(s) acknowledge that this Guaranty_is the
  entire agreement with Creditor/Lessor              pertaining! to its guaranty of the. obligations: described. herain   arid It: cannot: be changed. except with advance    written consent of
 Creditor/Lessar, Guarantor(s) agree that any failure or delay by Greditor/Lessor to enforce its tights.and ramedies under this Guaranty doés not prevent Greditor/Lessor from
 enforelng such rights‘or remedies at some future, point in time. A photocopy, .pat copy or facsimile.of this Guaranty will be | legally admissible under:tha.“best evidence rule” A
 signed.copy.of this Guaranty and/or any related document sent by facsimite or by email attachment In.pat format, shall-be treated as an. original document and shell be admissible.
 48 evidence, and alt signatures shall be binding asiif manyal signetures-ware personally delivered; If-any.payme               id to.any. Obligation is thereafter set aside, recavered,
 tescinded or required fo be retumed for any reason’ ‘ (including on accaunt of a preference In the ‘hankruj icy. of. any. B   or/Lessee), the Obligation to which such payment wes
 applied shall-for the purposes. of this Guaranty be: ‘deemed to -have continued In existence notwithetanding such-application, and.thls: ‘Guaranty shall-be enforceable as to such
 Obiigallon as fully as if such. ‘application had never been made. Guarantor(6) Will prompily execute and:deliver ta. Cr         Lessor.auch further documents, and take such further:
 action and. provida such information as Creditor/Lessor may request In ordar to carry out more effe             the inten and purpose of this Guaranty, and-or comply with laws or
 segutations applicable to Guarantor(s), ‘Creditor/Lessor, and/or ihe transdation evidenced by this Gitaranty, including. information identifying the owners of Guarantor(s} and its
 affiliates and thelr respective ‘ownership interests. Fusantorte hereby state that no assets are hetd in trast.

 Craditor/_éssor may, without notice to or tha:consent of Guarantor(s), assign this:Guaranty as it relates to an | Obilgation (a a party who purchases all or part of the Obligations
 (hereinafter referred to individually as an “Assignee! and collectively as “Assignees"). An Assignee shall have the:right to enforce this G           ty.againet G      tor(s} solely:as it
 relates to the Obligation It purchased, and such enforcement may be’ ‘brougtit separate and apart from actions by. Creditor/_essor arid/or other r Assignees. Guarantor(s) agrees
 that it shall, upon a request from Creditor/Leseor, promptly provide to Creditot/Lessar a copy of Guarantors’ ‘iio {recent annual financial statements and any. other financiat -
 Information of Guarantor(s) (iicluding interim financial slatem ents} | that Creditor may request. Guarantor(s) authorizes Creditor to share such information with Gredilor's affiliates,
 aubsidtares, and Assignaes, and with any Dealer. noted | in any Contract guaranteed‘hereby. Girarantor{s) certify. {hat the financial information provided to CreéditorLéssoris true,
 completa and accurate in all materia! respects, Guarantor(s) will not parmit the sale or transfer ofa ‘majority of its: ownership intereals to any person or-entity and Guarantor(s)
 will not consolidate ar nierga With-or sell or transfef-ell or substantially all of its assets to, any- person or entity, or allow a Blocked Person to have an ownership interest In-or
 contro! of Guarantor(s). “Blocked Person” means any peradn.or antity that is now or at-any time {A) on a list of 5 cially Dasignated Nationals issued by the Office of Foreign
 Assets Controt OFAC") of tha United: Stales. Department ‘of the Treasury orany sectoral sanctions identification: iist;.or (8) whose property of inleresla In proparty.are blocked
 by OFAC or who i strbject fo ganglions imposed byjtaw, inchiding any executive order of any branch or department: of the United States government or {c) otherwise designated
 by the United States or any regulator having jurisdigtion or requiatory oversight over Creditoreseor or ita financing source, fo be a person with whom Creditor is:not permitted
 to extend credii to or with regard to whom, a guarantor relationship may result fa penalties against Creditor/_ess0r ¢or Uanttatione on a creditor's ability te enforce a transaction.

 Guarantors) acknowledges. that Creditor/Lessor is relying: on this Guaranty in providing financing to RorroweriLeséee.
 THIS GUARANTY SHALL BE: GONSTRUED in raul RESPECTS INACCORDANCE WITH, AND GOVERNED. BY: THE INTERNAL LAWS (AS OPPOSED TO THE CONFLICTS
 OF LAW PROVISIONS) OF THE STATE OF ILLINOIS, GUARANTOR(S) HEREBY CONSENTS TO THE JURISDICTION OF ANY LOGAL, STATE, OR FEDERAL COURT
  LOCATED WITHIN THE STATE OF ILLINGIS AND WAIVES ANY OBJECTION BASED ON IMPROPER VENUE OR.FORUM NON CONVENIENS.. GUARANTOR(S)
 ACKNOWLEDGES THAT SUCH GUARANTOR(S) HAS AN OPTION TO CONSULT WITH COUNSEL OF ITS CHOICE REGARDING THIS GUARANTY.AND THAT IT SHALL
 NOT BE CONSTRUED AGAINST OTHER OF US BY-REASON.OF DRAFTSMANSHIP, TO.THE EXTENT PERMITTED SY. APPLICABLE LAW, THE PARTIES HERETO EACH
 ‘WAIVE ANY RIGHT TO A TRIAL BY JURY ON. ANY CLAIM, DEMAND, ACTION, CAUSE OF-ACTION OR COUNTERCLAIM ARISING UNDER OR IN ANY WAY RELATED
 TO THIS.GUARANTY, AND UNDER ANY THEORY, oF LAW OR EQUITY, WHETHER NOW EXISTING OR HEREAFTER ARISING.
 Creditor/Lassor and Guarantor(s) may @elect to execute thie Guaranly via electronic signature, Af this Guarenty ig, executed via elecironighapoleablin ia                            to:    ir



                  in els             ers       his     Susra                                                      A                                   : BU
             tu            sole au         tal Mi version. aT            aise ‘agrees That byt ‘typing hisiher hame
                                                                                                                n   in the pene Iisoted heen or. any other electronic mathod of affixing your
 signature, Guarantor(s) confirms that he/she Is the parsan so Indicated in the box below, and that he/she is providing an                  electra     gnature   on this G     ty
 electronic signature shail evidence his/her agraément to be bound by | and authenticate thia electronic record and attest.to the statements contained In this Guaranty wilh the
 same effect as if Guarantor(s) had manually signed this Guaranty. This Guaranty and any related electronic documents are electronic records: that may be transferred,
 authenticated, stored and transmitted’ by électronic)mjéang, Guarantor{s) agrees to keep any secu             de or password secured and will not inappropriately disclose this
 Information to others, Guarantor{s} also confims that all documentation related to this transaction delivered rexecuted using hle/ier emall address, login, security code and/or
 password are trie and correct.
 Dato: September 2, 2020
 GUARANTOR:            ULUGBEK F KUCHKAROV




 Address:
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(CMT-00390) PG (Rev 07-08-20}
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               EXHIBIT 5
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            MITSUBISHI!         HC   CAPITAL                                                              One Pierce Place
            AMERICA                                                                                               Suite 1100
                                                                                                           Itasca, IL 60143




                                                                              ILIAEl eof
March 11, 2024


Ulugbek Kuchkarov
President & Guarantor
inland Transportation Ltd.
3832 Rosada Drive
Naperville, IL 60564


Dear Ulugbek Kuchkarov:

Reference is made to Commercial Finance Agreement #106640 dated September 2, 2020 (the “Agreement”)
between Engs Commercial Finance Co. (“Creditor”), and Inland Transportation Ltd. (‘Borrower’).

Creditor hereby notifies Borrower that Creditor has assigned all of its right, title and interest in and to the Agreement
{including the Equipment subject thereto), and all other riders, amendments and other attachments thereto, and ail
guaranties thereof, if any, to Flagstar Financial & Leasing LLC (‘Flagstar’), effective as of March 24, 2024. You
are hereby directed to continue to make ail future payments and other amounts due under the Agreement to Flagstar
at the following address:

Fiagstar Financial & Financial LLC
100 Duffy Ave, Suite 402
Hicksville, NY 11801


Please direct your insurance carrier to change the additional insured and toss payee with respect to all insurance
required by the Agreement to Flagstar Financial & Leasing, LLC and have a copy of your updated certificate of
insurance confirming liability and property coverage forwarded to David McGowan at dmcqowan@signatureny.com.

If you have questions regarding this notification, please contact David McGowan at 631-861-2690.




 Mitsubishi HC Capital America, Inc.                        Flagstar Financial & Leasing LLC
 successor by merger to Engs Commercial
 Finance Co.

 By:       Prean      Aanctite                              By:           L


 Name:   Brian Kancius                                      Name:   David McGowan


 Its:    Director, Capital Markets                          its:    VP Director of Portfolio Management
             Case: 1:25-cv-02008 Document #: 1 Filed: 02/26/25 Page 32 of 32 PageID #:32

                MITSUBISHI          HC CAPITAL                                                            One Pierce Place
        47      AMERICA                                                                                           Suite 1100
                                                                                                           Itasca, IL 60143



March 13, 2024


Ulugbek Kuchkarov
President & Guarantor
Inland Transportation Ltd.
3832 Rosada Drive
Naperville, IL 60564


Dear Ulugbek Kuchkarov:

Reference is made to Commercial Finance Agreement #93957 dated January 29, 2020 (the “Agreement”) between
Engs Commercial Finance Co. ("Creditor"), and Inland Transportation Ltd. (“Borrower’).

Creditor hereby notifies Borrower that Creditor has assigned ali of its right, title and interest in and to the Agreement
{including the Equipment subject thereto), and all other riders, amendments and other attachments thereto, and ail
guaranties thereof, if any, to Flagstar Financial & Leasing LLC (‘Flagstar’), effective as of March 24, 2021. You
are hereby directed to continue to make all future payments and other amounts due under the Agreement to F lagstar
at the following address:

Flagstar Financial & Financial LLC
100 Duffy Ave, Suite 402
Hicksville, NY 11801


Please direct your insurance carrier to change the additional insured and loss payee with respect to all insurance
required by the Agreement to Flagstar Financial & Leasing, LLC and have a copy of your updated certificate of
insurance confirming liability and property coverage forwarded to David McGowan at dmcgowan@signatureny.com.

If you have questions regarding this notification, please contact David McGowan at 631-861-2690.




 Mitsubishi HC Capital America, inc.                        Flagstar Financial & Leasing LLC
 successor by merger to Engs Commercial                                       ,
 Finance Co.

 py.          Buen Kancsiue                                 ay. QL
 Name:       Brian Kancius                                  Name:   David McGowan



 Its:        Director, Capital Markets                      its:    VP Director of Portfolio Management
